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                                     Proofs of Claim Report - Hexion Inc. 19-10687




                                                        Claims Summary
                     Class                                  Proof of Claim Amount                             Final Allowed Amount
UNSECURED                                                               $9,513,022.36                                       $0.00
PRIORITY                                                                      $597,985.48
SECURED                                                                 $1,946,404.38
503(b)(9)                                                               $2,843,672.09                                       $0.00
Total                                                                 $14,901,084.31                                        $0.00


Total Claims/Schedules:                                                                  302


Claims Details (302)
Triune Electric, Inc
Case(s): 687 Clm No: 1 Clm. Amt: $7,920.00

 Attn: Victoria Pate                                                              Proof Of            Final
 4189 Dixie Inn Rd                       Case   Class    Status   Objection         Claim    IND   Allowed
 Wilson, NC 27893                                                                 Amount           Amount
 Date Filed: 4/5/2019
 Claim Face Value: $7,920.00             687    UNS                             $7,920.00
                                                                                 $7,920.00



Triune Electric, Inc
Case(s): 687 Clm No: 2 Clm. Amt: $50,730.00

 Attn: Victoria Pate                                                              Proof Of            Final
 4189 Dixie Inn Rd                       Case   Class    Status   Objection         Claim    IND   Allowed
 Wilson, NC 27893                                                                 Amount           Amount
 Date Filed: 4/5/2019
 Claim Face Value: $50,730.00            687    UNS                             $50,730.00
                                                                                $50,730.00



Pump Reliability Solutions LLC
Case(s): 687 Clm No: 3 Clm. Amt: $98,072.00

 Attn: Chris Harrington                                                           Proof Of            Final
 8706 Meldrum Ln                         Case   Class    Status   Objection         Claim    IND   Allowed
 Houston, TX 77075                                                                Amount           Amount
 Date Filed: 4/5/2019
 Claim Face Value: $98,072.00            687    UNS                             $98,072.00
                                                                                $98,072.00
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Freeman Communications LLC
Case(s): 687 Clm No: 4 Clm. Amt: $13,610.00

Attn: Michael Freeman                                                                        Proof Of             Final
700 W Pete Rose Way, Ste 431                  Case   Class       Status     Objection          Claim     IND   Allowed
Cincinnati, OH 45203                                                                         Amount            Amount
Date Filed: 4/7/2019
Claim Face Value: $13,610.00                   687    UNS                                 $13,610.00
                                                                                           $13,610.00



Wanhua Chemical (America) Co., Ltd
Case(s): 687 Clm No: 5 Clm. Amt: $623,195.40

Attn: Eric Wang                                                                               Proof Of            Final
3803 West Chester Pike, Ste 240               Case    Class        Status    Objection          Claim    IND   Allowed
Newtown Square, PA 19073                                                                      Amount           Amount
Date Filed: 4/7/2019
Claim Face Value: $623,195.40                  687   503(b)(9)                            $623,195.40
                                                                                           $623,195.40



Offshore Commissioning Solutions, Inc.
Case(s): 687 Clm No: 6 Clm. Amt: $221,149.39

Attn: Sharice Estrada                                                                        Proof Of             Final
15330 Park Row                                Case   Class    Status        Objection          Claim     IND   Allowed
Houston, TX 77084                                                                            Amount            Amount
Date Filed: 4/8/2019
Claim Face Value: $221,149.39                  687    UNS                                 $221,149.39
                                                                                          $221,149.39

Assignee
 Assignee                                                                                     Percent    Amount   Status

 Cowen Special Investements LLC                                                              100.00%              Final
 Attn: Jeffrey Caress
 Re: Offshore Commissioning Solutions, Inc.
 599 Lexington Ave., 21st Fl
 New York, NY 10022



Advanced Machine Reliability Resources, Inc
Case(s): 687 Clm No: 7 Clm. Amt: $16,473.00

Attn: Wendy Johnson                                                                           Proof Of            Final
Amrri                                         Case    Class        Status     Objection         Claim    IND   Allowed
301 Mallory Station Rd, Ste 100                                                               Amount           Amount
Franklin, TN 37067
Date Filed: 4/8/2019                           687   503(b)(9)                                $925.00
Claim Face Value: $16,473.00                   687     UNS                                 $15,548.00
                                                                                            $16,473.00

Assignee
 Assignee                                                                                     Percent    Amount   Status

 TRC Master Fund, LLC                                                                        100.00%              Final
 Attn: Terrel Ross
 Re: Advanced Machine Reliability Resources, Inc
 P.O. Box 633
 Woodmere, NY 11598
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Consolidated Electrical Distributors Inc
Case(s): 687 Clm No: 8 Clm. Amt: $28,900.49

c/o Bradford Capital Holdings, LP                                                           Proof Of             Final
P.O. Box 4353                               Case    Class        Status     Objection         Claim     IND   Allowed
Clifton, NJ 07012                                                                           Amount            Amount
Date Filed: 4/8/2019
Claim Face Value: $28,900.49                687    503(b)(9)                                 $23.54

                                            687      UNS                                 $28,876.95
                                                                                          $28,900.49



Siemer Milling Company
Case(s): 687 Clm No: 9 Clm. Amt: $116,555.60

P.O. Box 670                                                                                Proof Of             Final
111 W Main St                               Case    Class        Status     Objection         Claim     IND   Allowed
Teutopolis, IL 62467                                                                        Amount            Amount
Date Filed: 4/8/2019
Claim Face Value: $116,555.60               687    503(b)(9)                             $80,669.04

                                            687      UNS                                 $35,886.56
                                                                                         $116,555.60



McCullock County Appraisal District
Case(s): 687 Clm No: 10 Clm. Amt: $270,498.73

306 W Lockhart St                                                                          Proof Of              Final
Brady, TX 76825-4113                        Case   Class    Status        Objection          Claim     IND    Allowed
Date Filed: 4/1/2019                                                                       Amount             Amount
Amending Clm #: 10
                                            687    SEC                                  $270,498.73
Amended By Clm #: 10
Claim Face Value: $270,498.73                                                           $270,498.73



LRBG Chemicals Inc.
Case(s): 687 Clm No: 11 Clm. Amt: $8,880.00

Attn: Daniel Wozniak                                                                       Proof Of              Final
2112 Sylvan Ave                             Case   Class       Status      Objection         Claim     IND    Allowed
P.O. Box 2570                                                                              Amount             Amount
Toledo, OH 43606
Date Filed: 4/9/2019                        687     UNS                                  $8,880.00
Claim Face Value: $8,880.00                                                               $8,880.00

Assignee
 Assignee                                                                                   Percent    Amount   Status

 CRG Financial LLC                                                                         100.00%               Final
 Attn: Allison R. Axenrod
 Re: LRBG Chemicals Inc.
 100 Union Ave.
 Cresskill, NJ 07626



Dallas County
Case(s): 687 Clm No: 12 Clm. Amt: $518.56

c/o Linebarger Coggan Blair & Sampson LLP                                                 Proof Of               Final
Attn: Elizabeth Weller                      Case    Class      Status       Objection       Claim      IND    Allowed
2777 N Stemmons Fwy, Ste 1000                                                             Amount              Amount
Dallas, TX 75207
Date Filed: 4/8/2019                        687     UNS                                   $518.56
Claim Face Value: $518.56                                                                  $518.56
                              Case 19-10687-KG               Doc 24           Filed 09/26/19            Page 4 of 62

Amistco Separation Products dba Amacs
Case(s): 687 Clm No: 13 Clm. Amt: $56,180.00

Attn: Cedric Brown                                                                        Proof Of              Final
14211 Industry St                            Case   Class       Status     Objection        Claim     IND    Allowed
Houston, TX 77053                                                                         Amount             Amount
Date Filed: 4/8/2019
Claim Face Value: $56,180.00                 687     UNS                                $56,180.00
                                                                                        $56,180.00

Assignee
 Assignee                                                                                  Percent    Amount   Status

 CRG Financial LLC                                                                        100.00%               Final
 Attn: Allison R. Axenrod
 Re: Amistco Separation Products dba Amacs
 100 Union Ave.
 Cresskill, NJ 07626



Cardinal Container Services, Inc.
Case(s): 687 Clm No: 14 Clm. Amt: $13,105.63

Attn: Ian Miller                                                                          Proof Of              Final
200 Aspen Hill Rd                            Case   Class       Status     Objection        Claim     IND    Allowed
North Branch, NJ 08876                                                                    Amount             Amount
Date Filed: 4/8/2019
Claim Face Value: $13,105.63                 687     UNS                                $13,105.63
                                                                                        $13,105.63



Midwest Agri-Commodities Company
Case(s): 687 Clm No: 15 Clm. Amt: $232,159.96

Arlen Antes Berger                                                                         Proof Of             Final
999 5th Ave, Ste 500                         Case    Class        Status    Objection        Claim     IND   Allowed
San Rafael, CA 94901                                                                       Amount            Amount
Date Filed: 4/9/2019
Claim Face Value: $232,159.96                687    503(b)(9)                           $136,696.91

                                             687      UNS                                $95,463.05
                                                                                        $232,159.96



Hayes Manufacturing, Co., Inc
Case(s): 687 Clm No: 16 Clm. Amt: $27,000.00

Attn: April Rougeou                                                                       Proof Of              Final
P.O. Box 3309                                Case   Class       Status     Objection        Claim     IND    Allowed
106 Pelican Dr                                                                            Amount             Amount
Pineville, LA 71360
Date Filed: 4/10/2019                        687     UNS                                $27,000.00
Claim Face Value: $27,000.00                                                            $27,000.00



Crucible Chemical Company
Case(s): 687 Clm No: 17 Clm. Amt: $1,311.00

P.O. Box 6786                                                                             Proof Of              Final
Greenville, SC 29606                         Case    Class      Status     Objection        Claim     IND    Allowed
Date Filed: 4/10/2019                                                                     Amount             Amount
Claim Face Value: $1,311.00
                                             687     UNS                                $1,311.00
                                                                                         $1,311.00
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The Acta Group L.L.C.
Case(s): 687 Clm No: 18 Clm. Amt: $31,261.63

2200 Pennsylvania Ave Nw, Ste 100W                                                    Proof Of             Final
Washington, DC 20037                   Case    Class      Status      Objection         Claim     IND   Allowed
Date Filed: 4/10/2019                                                                 Amount            Amount
Claim Face Value: $31,261.63
                                        687    UNS                                  $31,261.63
                                                                                    $31,261.63



Florida Rock & Tank Lines, Inc.
Case(s): 687 Clm No: 19 Clm. Amt: $24,789.42

Attn: Connie Lott                                                                     Proof Of             Final
200 W Forsyth St, 7th Fl               Case    Class      Status      Objection         Claim     IND   Allowed
Jacksonville, FL 32202                                                                Amount            Amount
Date Filed: 4/11/2019
Claim Face Value: $24,789.42            687    UNS                                  $24,789.42
                                                                                    $24,789.42



IMPAC Engineering
Case(s): 687 Clm No: 20 Clm. Amt: $20,000.00

Attn: Mehrdad Heidari                                                                  Proof Of            Final
4904 Clovernook Rd                     Case     Class       Status     Objection         Claim    IND   Allowed
Louisville, KY 40207                                                                   Amount           Amount
Date Filed: 4/11/2019
Claim Face Value: $20,000.00            687   503(b)(9)                             $20,000.00
                                                                                     $20,000.00



Cleveland Wire Cloth & Mfg Co
Case(s): 687 Clm No: 21 Clm. Amt: $4,503.68

Attn: Joseph J. Sarasa                                                                 Proof Of            Final
3573 East 78th St                      Case     Class        Status     Objection        Claim    IND   Allowed
Cleveland, OH 44105                                                                    Amount           Amount
Date Filed: 4/11/2019
Claim Face Value: $4,503.68             687   503(b)(9)                              $4,503.68
                                                                                      $4,503.68



Cleaver-Brooks Sales and Service, Inc.
Case(s): 687 Clm No: 22 Clm. Amt: $1,762.00

c/o Ncs                                                                               Proof Of             Final
Attn: Michelle Gerred                  Case    Class      Status      Objection         Claim     IND   Allowed
729 Miner Rd                                                                          Amount            Amount
Highland Heights, Oh, 44143
Date Filed: 4/11/2019                   687    UNS                                  $1,762.00
Claim Face Value: $1,762.00                                                          $1,762.00



Neva Corporation
Case(s): 687 Clm No: 23 Clm. Amt: $85,011.84

Attn: Ben Graham                                                                      Proof Of             Final
11350 Brittmoore Park Dr               Case    Class      Status      Objection         Claim     IND   Allowed
Houston, TX 77041                                                                     Amount            Amount
Date Filed: 4/11/2019
Claim Face Value: $85,011.84            687    UNS                                  $85,011.84
                                                                                    $85,011.84
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Axis Mechanical Group, Inc.
Case(s): 687 Clm No: 24 Clm. Amt: $69,299.48

Attn: Crystal Van Sant                                                              Proof Of              Final
5916 E Sam Houston Pkwy S              Case    Class      Status     Objection        Claim     IND    Allowed
Houston, TX 77034                                                                   Amount             Amount
Date Filed: 4/12/2019
Claim Face Value: $69,299.48            687    UNS                                $69,299.48
                                                                                  $69,299.48

Assignee
 Assignee                                                                            Percent    Amount   Status

 TRC Master Fund, LLC                                                               100.00%               Final
 Attn: Terrel Ross
 Re; Axis Mechanical Group, Inc.
 P.O. Box 633
 Woodmere, NY 11598



August Winter & Sons, Inc.
Case(s): 687 Clm No: 25 Clm. Amt: $192,812.34

Attn: Kathryn Knapp                                                                  Proof Of             Final
2323 N Roemer Rd                       Case    Class        Status    Objection        Claim     IND   Allowed
P.O. Box 1896                                                                        Amount            Amount
Appleton, WI 54912-1896
Date Filed: 4/12/2019                   687   503(b)(9)                           $192,812.34
Claim Face Value: $192,812.34                                                     $192,812.34



CCM Electric
Case(s): 687 Clm No: 26 Clm. Amt: $15,574.00

Attn: Charles C. Montes                                                             Proof Of              Final
6311 Fm2109                            Case    Class      Status     Objection        Claim     IND    Allowed
Huntington, TX 75949                                                                Amount             Amount
Date Filed: 4/13/2019
Claim Face Value: $15,574.00            687    UNS                                $15,574.00
                                                                                  $15,574.00



Florida Handling Systems, Inc.
Case(s): 687 Clm No: 27 Clm. Amt: $6,945.00

Attn: Angela Chils                                                                  Proof Of              Final
2651 State Rd 60 West                  Case    Class      Status     Objection        Claim     IND    Allowed
Bartow, FL 33830                                                                    Amount             Amount
Date Filed: 4/15/2019
Claim Face Value: $6,945.00             687    UNS                                $6,945.00
                                                                                   $6,945.00



Blue Chip Consulting Group, LLC
Case(s): 687 Clm No: 28 Clm. Amt: $11,763.36

Attn: Justine Lemanowicz                                                            Proof Of              Final
6000 Lombardo Center, Ste 650          Case    Class      Status     Objection        Claim     IND    Allowed
Seven Hills, OH 44131                                                               Amount             Amount
Date Filed: 4/15/2019
Claim Face Value: $11,763.36            687    UNS                                $11,763.36
                                                                                  $11,763.36
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APM, LLC
Case(s): 687 Clm No: 29 Clm. Amt: $3,540.00

Attn: Paul Spence                                                                       Proof Of             Final
580 N 4th St                            Case     Class        Status     Objection        Claim    IND    Allowed
Columbus, OH 43215                                                                      Amount            Amount
Date Filed: 4/15/2019
Claim Face Value: $3,540.00             687    503(b)(9)                              $3,540.00
                                                                                       $3,540.00



Orthman Manufacturing, Inc.
Case(s): 687 Clm No: 30 Clm. Amt: $96,601.70

Attn: Karen K White                                                                    Proof Of              Final
P.O. Box B                              Case   Class       Status      Objection         Claim     IND    Allowed
Lexington, NE 68850                                                                    Amount             Amount
Date Filed: 4/15/2019
Claim Face Value: $96,601.70            687     UNS                                  $96,601.70
                                                                                     $96,601.70

Assignee
 Assignee                                                                               Percent    Amount   Status

 Bradford Capital Holdings, LP                                                         100.00%               Final
 c/o Bradford Capital Management, LLC
 Attn: Brian Brager
 Re: Orthman Manufacturing, Inc.
 P.O. Box 4353
 Clifton, NJ 07012



IFC North America Inc. IFC North America Inc
Case(s): 687 Clm No: 31 Clm. Amt: $729,545.50

15 Lake St, Ste A                                                                       Proof Of             Final
Grimsby, ON L3M 2G4                     Case    Class        Status     Objection         Claim     IND   Allowed
Canada                                                                                  Amount            Amount
Date Filed: 4/16/2019
Claim Face Value: $729,545.50           687    503(b)(9)                             $207,345.00            $0.00

                                        687      UNS                                 $522,200.50            $0.00
                                                                                     $729,545.50             $0.00



Aqua Fire Protection Company
Case(s): 687 Clm No: 32 Clm. Amt: $3,977.49

Attn: Sherri H Jones                                                                   Proof Of              Final
1020 E Springfield Rd                   Case    Class      Status      Objection         Claim     IND    Allowed
High Point, NC 27263                                                                   Amount             Amount
Date Filed: 4/16/2019
Claim Face Value: $3,977.49             687     UNS                                  $3,977.49
                                                                                      $3,977.49



Aqua Fire Protection Company
Case(s): 687 Clm No: 33 Clm. Amt: $406.60

Attn: Sherri H Jones                                                                  Proof Of               Final
1020 E Springfield Rd                   Case    Class      Status       Objection       Claim      IND    Allowed
High Point, NC 27263                                                                  Amount              Amount
Date Filed: 4/16/2019
Claim Face Value: $406.60               687     UNS                                   $406.60
                                                                                       $406.60
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ANGUS Chemical Company
Case(s): 687 Clm No: 34 Clm. Amt: $250,308.02

Attn: Barbara L Kelley                                                               Proof Of             Final
1500 E Lake Cook Rd                    Case    Class        Status    Objection        Claim     IND   Allowed
Buffalo Grove, IL 60089-6554                                                         Amount            Amount
Date Filed: 4/16/2019
Claim Face Value: $250,308.02           687   503(b)(9)                           $250,308.02
                                                                                  $250,308.02



Hayes Manufacturing Co Inc
Case(s): 687 Clm No: 35 Clm. Amt: $5,050.00

Attn: April R. Rougeou                                                              Proof Of              Final
106 Pelican Dr                         Case    Class      Status     Objection        Claim     IND    Allowed
Pineville, LA 71360                                                                 Amount             Amount
Date Filed: 4/16/2019
Claim Face Value: $5,050.00             687    UNS                                $5,050.00
                                                                                   $5,050.00



Troy Boiler Works Inc.
Case(s): 687 Clm No: 36 Clm. Amt: $34,232.00

Attn: Brian K. Maxwell                                                              Proof Of              Final
2800-7Th Ave                           Case    Class      Status     Objection        Claim     IND    Allowed
Troy, NY 12110                                                                      Amount             Amount
Date Filed: 4/17/2019
Claim Face Value: $34,232.00            687    UNS                                $34,232.00
                                                                                  $34,232.00



Troy Boiler Works Inc.
Case(s): 687 Clm No: 37 Clm. Amt: $1,792.00

Attn: Richard Okonski                                                               Proof Of              Final
2800-7Th Ave                           Case    Class      Status     Objection        Claim     IND    Allowed
Troy, NY 12180                                                                      Amount             Amount
Date Filed: 4/17/2019
Claim Face Value: $1,792.00             687    UNS                                $1,792.00
                                                                                   $1,792.00



Troy Boiler Works Inc.
Case(s): 687 Clm No: 38 Clm. Amt: $1,993.79

Attn: Rich Okonski                                                                  Proof Of              Final
2800-7Th Ave                           Case    Class      Status     Objection        Claim     IND    Allowed
Troy, NY 12180                                                                      Amount             Amount
Date Filed: 4/17/2019
Claim Face Value: $1,993.79             687    UNS                                $1,993.79
                                                                                   $1,993.79
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Saskatchewan Mining and Minerals Inc.
Case(s): 687 Clm No: 39 Clm. Amt: $39,504.26

Attn: Brett Routledge                                                                      Proof Of             Final
1 Railway Ave                                Case   Class    Status        Objection         Claim     IND   Allowed
Chaplin, SK S0H 0V0                                                                        Amount            Amount
Canada
Date Filed: 4/17/2019                        687    UNS                                  $39,504.26
Claim Face Value: $39,504.26                                                             $39,504.26

Assignee
 Assignee                                                                                   Percent    Amount   Status

 CRG Financial LLC                                                                         100.00%              Final
 Attn: Allison Axenrod
 Re: Saskatchewan Mining and Minerals Inc.
 100 Union Ave.
 Cresskill, NJ 07626



Solaris Power Systems LLC
Case(s): 687 Clm No: 40 Clm. Amt: $2,380.00

Attn: Dana Rust                                                                             Proof Of            Final
P.O. Box 189                                 Case    Class        Status     Objection        Claim    IND   Allowed
Bellaire, TX 77402                                                                          Amount           Amount
Date Filed: 4/17/2019
Claim Face Value: $2,380.00                  687    503(b)(9)                             $2,380.00
                                                                                           $2,380.00



Merrill Corporation
Case(s): 687 Clm No: 41 Clm. Amt: $72,956.67

Attn: Leif Erik Simpson                                                                    Proof Of             Final
One Merrill Cir.                             Case   Class    Status        Objection         Claim     IND   Allowed
Saint Paul, MN 55108                                                                       Amount            Amount
Date Filed: 4/17/2019
Claim Face Value: $72,956.67                 687    UNS                                  $72,956.67
                                                                                         $72,956.67



Industrial Performance Services
Case(s): 687 Clm No: 42 Clm. Amt: $81,373.67

Attn: Mike Guidry                                                                          Proof Of             Final
PO Box 3586                                  Case   Class    Status        Objection         Claim     IND   Allowed
Houston, TX 77253-3586                                                                     Amount            Amount
Date Filed: 4/17/2019
Claim Face Value: $81,373.67                 687    UNS                                  $81,373.67
                                                                                         $81,373.67



Airgas On-Site Safety Services
Case(s): 687 Clm No: 43 Clm. Amt: $1,583.33

Attn: Rocio Aleman                                                                         Proof Of             Final
906 West 13th St.                            Case   Class       Status     Objection         Claim     IND   Allowed
Deer Park, TX 77536                                                                        Amount            Amount
Date Filed: 5/6/2019
Claim Face Value: $1,583.33                  687     UNS                                 $1,583.33
                                                                                          $1,583.33
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Wisconsin Lift Truck Corp
Case(s): 687 Clm No: 44 Clm. Amt: $1,108.40

Attn: Alison O'Connell                                                               Proof Of              Final
3125 Intertech Dr.                   Case      Class      Status     Objection         Claim      IND   Allowed
Brookfield, WI 53045                                                                 Amount             Amount
Date Filed: 5/6/2019
Claim Face Value: $1,108.40           687      UNS                                  $1,108.40
                                                                                     $1,108.40



Airgas USA, LLC
Case(s): 687 Clm No: 45 Clm. Amt: $4,863.66

Attn: Carrie Dodson                                                                  Proof Of              Final
110 West 7th St., Ste. 1400          Case      Class      Status     Objection         Claim      IND   Allowed
Tulsa, OK 74119                                                                      Amount             Amount
Date Filed: 5/6/2019
Claim Face Value: $4,863.66           687      UNS                                  $4,863.66
                                                                                     $4,863.66



Airgas USA, LLC
Case(s): 687 Clm No: 46 Clm. Amt: $10,515.73

Attn: Carrie Dodson                                                                   Proof Of             Final
110 West 7th St., Ste. 1400          Case       Class       Status    Objection         Claim     IND   Allowed
Tulsa, OK 74119                                                                       Amount            Amount
Date Filed: 5/6/2019
Claim Face Value: $10,515.73          687     503(b)(9)                              $2,223.73

                                      687       UNS                                  $8,292.00
                                                                                    $10,515.73



Airgas USA, LLC
Case(s): 687 Clm No: 47 Clm. Amt: $1,392.48

Attn: Carrie Dodson                                                                  Proof Of              Final
110 West 7th St., Ste. 1400          Case      Class      Status     Objection         Claim      IND   Allowed
Tulsa, OK 74119                                                                      Amount             Amount
Date Filed: 5/6/2019
Claim Face Value: $1,392.48           687      UNS                                  $1,392.48
                                                                                     $1,392.48



Schuetz Container Systems, Inc.
Case(s): 687 Clm No: 48 Clm. Amt: $1,236,229.75

Attn: Ian Miller                                                                                           Final
200 Aspen Hill Rd                                                                Proof Of Claim
                                     Case     Class     Status     Objection                      IND   Allowed
No. Branch, NJ 08876                                                                    Amount
                                                                                                        Amount
Date Filed: 4/15/2019
Claim Face Value: $1,236,229.75       687      UNS                               $1,236,229.75
                                                                                  $1,236,229.75
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TECH 2000 Services & Staffing, Inc.
Case(s): 687 Clm No: 49 Clm. Amt: $8,814.64

Attn: Julia J. Collins                                                         Proof Of            Final
240 West End Ave, Ste 3B             Case      Class    Status   Objection       Claim    IND   Allowed
New York, NY 10023                                                             Amount           Amount
Date Filed: 4/15/2019
Claim Face Value: $8,814.64           687       PRI                          $5,128.75

                                      687      UNS                           $3,685.89
                                                                              $8,814.64



MS Department of Revenue
Case(s): 687 Clm No: 50 Clm. Amt:

Attn: Bankruptcy Section                                                       Proof Of            Final
P.O. Box 22808                       Case      Class    Status   Objection       Claim    IND   Allowed
Jackson, MS 39225                                                              Amount           Amount
Date Filed: 4/18/2019
Claim Face Value:                     687       PRI                           Unknown     Y




Bexar County
Case(s): 687 Clm No: 51 Clm. Amt: $24,792.95

Attn: Don Stecker                                                              Proof Of            Final
711 Navarro St, Ste 300              Case      Class    Status   Objection       Claim    IND   Allowed
San Antonio, TX 78205                                                          Amount           Amount
Date Filed: 4/15/2019
Claim Face Value: $24,792.95          687      SEC                           $24,792.95
                                                                             $24,792.95



Packaging Corporation of America
Case(s): 687 Clm No: 52 Clm. Amt: $14,357.00

Attn: Vince Carrera                                                            Proof Of            Final
1 N Field Court                      Case      Class    Status   Objection       Claim    IND   Allowed
Lake Forest, IL 60045                                                          Amount           Amount
Date Filed: 4/15/2019
Claim Face Value: $14,357.00          687      UNS                           $14,357.00
                                                                             $14,357.00



Expotechnik America LTD
Case(s): 687 Clm No: 53 Clm. Amt: $10,091.06

Attn: Lori Myers                                                               Proof Of            Final
1300 Northbrook Pkwy, Ste 150        Case      Class    Status   Objection       Claim    IND   Allowed
Suwanee, GA 30024                                                              Amount           Amount
Date Filed: 4/18/2019
Amended By Clm #: 54                  687      UNS                           $10,091.06
Claim Face Value: $10,091.06                                                 $10,091.06
                          Case 19-10687-KG             Doc 24          Filed 09/26/19            Page 12 of 62

Expotechnik America LTD
Case(s): 687 Clm No: 54 Clm. Amt: $10,091.06

Attn: Lori Myers                                                                    Proof Of             Final
1300 Northbrook Pkwy, Ste 150        Case      Class      Status     Objection        Claim     IND   Allowed
Suwanee, GA 30024                                                                   Amount            Amount
Date Filed: 4/18/2019
Orig. Date Filed: 4/18/2019           687      UNS                                $10,091.06
Amending Clm #: 53                                                                $10,091.06
Claim Face Value: $10,091.06


J.F. Ahern Co
Case(s): 687 Clm No: 55 Clm. Amt: $2,680.33

Attn: Carrie Iglesias                                                               Proof Of             Final
P.O. Box 1316                        Case      Class      Status     Objection        Claim     IND   Allowed
Fond Du Lac, WI 54936                                                               Amount            Amount
Date Filed: 4/18/2019
Claim Face Value: $2,680.33           687      UNS                                $2,680.33
                                                                                   $2,680.33



MACDONALD-MILLER FACILITY SOLUTIONS INC
Case(s): 687 Clm No: 56 Clm. Amt: $21,333.75

Attn: Stephanie Todd                                                                 Proof Of            Final
P.O. Box 47983                       Case       Class       Status    Objection        Claim    IND   Allowed
Seattle, WA 98146                                                                    Amount           Amount
Date Filed: 4/18/2019
Claim Face Value: $21,333.75          687     503(b)(9)                            $4,113.00

                                      687       UNS                               $17,220.75
                                                                                   $21,333.75



Randstad Technologies
Case(s): 687 Clm No: 57 Clm. Amt: $55,933.84

Attn: Ken Wilson                                                                    Proof Of             Final
3625 Cumberland Blvd, Ste 600        Case      Class      Status     Objection        Claim     IND   Allowed
Atlanta, GA 30339                                                                   Amount            Amount
Date Filed: 4/19/2019
Claim Face Value: $55,933.84          687      UNS                                $55,933.84
                                                                                  $55,933.84



Randstad
Case(s): 687 Clm No: 58 Clm. Amt: $49,495.90

Attn: Ken Wilson                                                                    Proof Of             Final
3625 Cumberland Blvd, Ste 600        Case      Class      Status     Objection        Claim     IND   Allowed
Atlanta, GA 30339                                                                   Amount            Amount
Date Filed: 4/19/2019
Claim Face Value: $49,495.90          687      UNS                                $49,495.90
                                                                                  $49,495.90
                          Case 19-10687-KG             Doc 24          Filed 09/26/19            Page 13 of 62

Spherion Staffing, LLC
Case(s): 687 Clm No: 59 Clm. Amt: $5,735.57

Attn: Ken Wilson                                                                    Proof Of              Final
3625 Cumberland Blvd, Ste 600        Case      Class      Status     Objection        Claim     IND    Allowed
Atlanta, GA 30339                                                                   Amount             Amount
Date Filed: 4/19/2019
Claim Face Value: $5,735.57           687      UNS                                $5,735.57
                                                                                   $5,735.57



Air Liquide Large Industries U.S. LP
Case(s): 687 Clm No: 60 Clm. Amt: $233,188.93

Attn: Cheryl Lero                                                                    Proof Of             Final
9811 Katy Freeway, Ste 100           Case      Class        Status   Objection         Claim     IND   Allowed
Houston, TX 77024                                                                    Amount            Amount
Date Filed: 4/19/2019
Claim Face Value: $233,188.93         687     503(b)(9)                           $118,877.26

                                      687       UNS                               $114,311.67
                                                                                  $233,188.93



Norac Additives LLC
Case(s): 687 Clm No: 61 Clm. Amt: $55,380.00

Attn: Marilyn Chiang                                                                 Proof Of             Final
813 Towne Center Dr                  Case      Class        Status    Objection        Claim    IND    Allowed
Pomona, CA 91767                                                                     Amount            Amount
Date Filed: 4/19/2019
Claim Face Value: $55,380.00          687     503(b)(9)                             Unknown      Y

                                      687       UNS                               $55,380.00
                                                                                   $55,380.00



Alliance Shippers, Inc
Case(s): 687 Clm No: 62 Clm. Amt: $6,400.00

Attn: Les J Decker                                                                  Proof Of              Final
5700 Broadmoor, Ste 600              Case      Class      Status     Objection        Claim     IND    Allowed
Mission, KS 66202                                                                   Amount             Amount
Date Filed: 4/19/2019
Claim Face Value: $6,400.00           687      UNS                                $6,400.00
                                                                                   $6,400.00



Alliance Shippers, Inc
Case(s): 687 Clm No: 63 Clm. Amt: $6,400.00

Attn: Les Decker                                                                    Proof Of              Final
5700 Broadmoor, Ste 600              Case      Class      Status     Objection        Claim     IND    Allowed
Mission, KS 66202                                                                   Amount             Amount
Date Filed: 4/19/2019
Claim Face Value: $6,400.00           687      UNS                                $6,400.00
                                                                                   $6,400.00
                          Case 19-10687-KG             Doc 24      Filed 09/26/19          Page 14 of 62

Alliance Shippers, Inc
Case(s): 687 Clm No: 64 Clm. Amt: $1,295.00

Attn: Les Decker                                                               Proof Of            Final
5700 Broadmoor, Ste 600              Case      Class    Status   Objection       Claim    IND   Allowed
Mission, KS 66202                                                              Amount           Amount
Date Filed: 4/19/2019
Claim Face Value: $1,295.00           687      UNS                           $1,295.00
                                                                              $1,295.00



Alliance Shippers, Inc
Case(s): 687 Clm No: 65 Clm. Amt: $2,200.00

Attn: Les Decker                                                               Proof Of            Final
5700 Broadmoor, Suite 600            Case      Class    Status   Objection       Claim    IND   Allowed
Mission, KS 66202                                                              Amount           Amount
Date Filed: 4/19/2019
Claim Face Value: $2,200.00           687      UNS                           $2,200.00
                                                                              $2,200.00



Alliance Shippers, Inc
Case(s): 687 Clm No: 66 Clm. Amt: $1,900.00

Attn: Les Decker                                                               Proof Of            Final
5700 Broadmoor                       Case      Class    Status   Objection       Claim    IND   Allowed
Suite 600                                                                      Amount           Amount
Mission, KS 66202
Date Filed: 4/19/2019                 687      UNS                           $1,900.00
Claim Face Value: $1,900.00                                                   $1,900.00



Dan's Lawn & Landscape Maintenance LLC
Case(s): 687 Clm No: 67 Clm. Amt: $23,515.06

Attn: Daniel R Watkins                                                         Proof Of            Final
PO Box 287                           Case      Class    Status   Objection       Claim    IND   Allowed
New Albany, IN 47151                                                           Amount           Amount
Date Filed: 4/21/2019
Claim Face Value: $23,515.06          687      PRI                           $23,515.06
                                                                             $23,515.06



G.C.I., Inc
Case(s): 687 Clm No: 68 Clm. Amt: $2,100.38

Attn: Janie Bond                                                               Proof Of            Final
PO Box 83657                         Case      Class    Status   Objection       Claim    IND   Allowed
Baton Rouge, LA 70884-3657                                                     Amount           Amount
Date Filed: 4/22/2019
Claim Face Value: $2,100.38           687      UNS                           $2,100.38
                                                                              $2,100.38



Neva Corporation
Case(s): 687 Clm No: 69 Clm. Amt: $3,509.03

Attn: Ben Graham                                                               Proof Of            Final
11350 Brittmoore Park Dr.            Case      Class    Status   Objection       Claim    IND   Allowed
Houston, TX 77041                                                              Amount           Amount
Date Filed: 4/22/2019
Claim Face Value: $3,509.03           687      UNS                           $3,509.03
                                                                              $3,509.03
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Oseco
Case(s): 687 Clm No: 70 Clm. Amt: $5,300.04

Attn: Kendal Ruffin                                                                   Proof Of            Final
1701 W. Tacoma Street                    Case   Class    Status      Objection          Claim    IND   Allowed
Broken Arrow, OK 74012                                                                Amount           Amount
Date Filed: 4/22/2019
Claim Face Value: $5,300.04              687    UNS                                 $5,300.04
                                                                                     $5,300.04



Kadant Unaflex LLC
Case(s): 687 Clm No: 71 Clm. Amt: $69,840.19

ATTN: Tracy Kollmer                                                                   Proof Of            Final
P.O. Box 5088                            Case   Class    Status      Objection          Claim    IND   Allowed
Fort Lauderdale FL 33310                                                              Amount           Amount
Date Filed: 4/23/2019
Claim Face Value: $69,840.19             687    UNS                                 $69,840.19
                                                                                    $69,840.19



Louisville Label Inc.
Case(s): 687 Clm No: 72 Clm. Amt: $165.06

Attn: Melonie Sullivan                                                                Proof Of            Final
417 S 32nd St                            Case    Class      Status      Objection       Claim    IND   Allowed
Louisville, KY 40212                                                                  Amount           Amount
Date Filed: 4/23/2019
Claim Face Value: $165.06                687    503(b)(9)                             $165.06
                                                                                       $165.06



Fair Harbor Capital, LLC as Assignee of Air Pollution Equipm
Case(s): 687 Clm No: 73 Clm. Amt: $6,387.87

Fair Harbor Capital LLC                                                               Proof Of            Final
PO Box 237037                            Case   Class    Status      Objection          Claim    IND   Allowed
New York, NY 10023                                                                    Amount           Amount
Date Filed: 4/23/2019
Claim Face Value: $6,387.87              687    UNS                                 $6,387.87
                                                                                     $6,387.87

Assignee
 Assignee                                                                              Percent   Amount   Status

 Fair Harbor Capital, LLC                                                             100.00%             Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: Air Pollution Equipment
 P.O. Box 237037
 New York, NY 10023
                             Case 19-10687-KG          Doc 24            Filed 09/26/19              Page 16 of 62

Fair Harbor Capital, Assig of Superior Bulk Logist
Case(s): 687 Clm No: 74 Clm. Amt: $31,174.56

Fair Harbor Capital, LLC                                                                Proof Of             Final
PO Box 237037                           Case   Class       Status      Objection          Claim     IND   Allowed
New York, NY 10023                                                                      Amount            Amount
Date Filed: 4/23/2019
Claim Face Value: $31,174.56            687     UNS                                   $31,174.56
                                                                                      $31,174.56

Assignee
 Assignee                                                                                Percent    Amount   Status

 Fair Harbor Capital, LLC                                                               100.00%              Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: Superior Bulk Logistics Inc.
 P.O. Box 237037
 New York, NY 10023



MIURA AMERICA CO., INC.
Case(s): 687 Clm No: 75 Clm. Amt: $5,609.67

MIURA AMERICA CO., LTD                                                                   Proof Of            Final
2200 STEVEN B SMITH BLVD               Case      Class        Status     Objection         Claim    IND   Allowed
ROCKMART, GA 30153                                                                       Amount           Amount
Date Filed: 4/23/2019
Claim Face Value: $5,609.67             687    503(b)(9)                               $5,609.67
                                                                                        $5,609.67



Fair Harbor Capital, Assig. of Tecnetics Industries Inc
Case(s): 687 Clm No: 76 Clm. Amt: $30,310.81

Fair Harbor Capital, LLC                                                                 Proof Of            Final
PO Box 237037                          Case     Class        Status     Objection          Claim    IND   Allowed
New York, NY 10023                                                                       Amount           Amount
Date Filed: 4/23/2019
Claim Face Value: $30,310.81            687    503(b)(9)                              $30,310.81
                                                                                       $30,310.81

Assignee
 Assignee                                                                                Percent    Amount   Status

 Fair Harbor Capital, LLC                                                               100.00%              Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: Tecnetics Industries Inc.
 P.O. Box 237037
 New York, NY 10023



MIURA AMERICA CO., INC.
Case(s): 687 Clm No: 77 Clm. Amt: $199.00

2200 STEVEN B SMITH BLVD                                                                Proof Of             Final
ROCKMART, GA 30153                      Case     Class        Status      Objection       Claim     IND   Allowed
Date Filed: 4/23/2019                                                                   Amount            Amount
Claim Face Value: $199.00
                                        687    503(b)(9)                                $199.00
                                                                                         $199.00
                              Case 19-10687-KG         Doc 24           Filed 09/26/19             Page 17 of 62

Fair Harbor Capital LLC assign of Therm Omega Tech Inc.
Case(s): 687 Clm No: 78 Clm. Amt: $9,715.00

Attn: Victor Knox                                                                     Proof Of             Final
PO Box 237037                           Case   Class       Status     Objection         Claim     IND   Allowed
New York, NY 10023                                                                    Amount            Amount
Date Filed: 4/23/2019
Claim Face Value: $9,715.00             687     UNS                                 $9,715.00
                                                                                     $9,715.00

Assignee
 Assignee                                                                              Percent    Amount   Status

 Fair Harbor Capital, LLC                                                             100.00%              Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: Therm Omega Tech. Inc.
 P.O. Box 237037
 New York, NY 10023



Fair Harbor Capital as assgn of Set Environmental Inc.
Case(s): 687 Clm No: 79 Clm. Amt: $14,047.77

Attn: Victor Knox                                                                     Proof Of             Final
PO Box 237037                           Case   Class    Status        Objection         Claim     IND   Allowed
New York, NY 10023                                                                    Amount            Amount
Date Filed: 4/23/2019
Claim Face Value: $14,047.77            687    UNS                                  $14,047.77
                                                                                    $14,047.77

Assignee
 Assignee                                                                              Percent    Amount   Status

 Fair Harbor Capital, LLC                                                             100.00%              Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: Set Environmental Inc.
 P.O. Box 237037
 New York, NY 10023



Fair Harbor Capital as assgn of New Way Electric
Case(s): 687 Clm No: 80 Clm. Amt: $5,246.21

Attn: Victor Knox                                                                      Proof Of            Final
PO Box 237037                           Case    Class        Status     Objection        Claim    IND   Allowed
New York, NY 10023                                                                     Amount           Amount
Date Filed: 4/23/2019
Claim Face Value: $5,246.21             687    503(b)(9)                               $953.71

                                        687      UNS                                 $4,292.50
                                                                                      $5,246.21

Assignee
 Assignee                                                                              Percent    Amount   Status

 Fair Harbor Capital, LLC                                                             100.00%              Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: New Way Electric
 P.O. Box 237037
 New York, NY 10023
                             Case 19-10687-KG          Doc 24           Filed 09/26/19             Page 18 of 62

Fair Harbor Capital LLC as assign of Roland J Robert Distrib
Case(s): 687 Clm No: 81 Clm. Amt: $14,551.39

Attn: Victor Knox                                                                     Proof Of             Final
P.O. Box 237037                         Case   Class    Status        Objection         Claim     IND   Allowed
New York, NY 10023                                                                    Amount            Amount
Date Filed: 4/23/2019
Claim Face Value: $14,551.39            687    UNS                                  $14,551.39
                                                                                    $14,551.39

Assignee
 Assignee                                                                              Percent    Amount   Status

 Fair Harbor Capital, LLC                                                             100.00%              Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: Roland J Robert Distributor Inc.
 P.O. Box 237037
 New York, NY 10023



Fair Harbor Capital LLC as assign SRI Instruments
Case(s): 687 Clm No: 82 Clm. Amt: $4,511.00

Attn: Victor Knox                                                                      Proof Of            Final
P.O. Box 237037                         Case    Class        Status     Objection        Claim    IND   Allowed
New York, NY 10023                                                                     Amount           Amount
Date Filed: 4/23/2019
Claim Face Value: $4,511.00             687    503(b)(9)                               $672.00

                                        687      UNS                                 $3,839.00
                                                                                      $4,511.00

Assignee
 Assignee                                                                              Percent    Amount   Status

 Fair Harbor Capital, LLC                                                             100.00%              Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: SRI Instruments
 P.O. Box 237037
 New York, NY 10023



Fair Harbor Capital, assign of Randall Industries
Case(s): 687 Clm No: 83 Clm. Amt: $4,178.69

Attn: Victor Knox                                                                     Proof Of             Final
P.O. Box 237037                         Case   Class       Status     Objection         Claim     IND   Allowed
New York, NY 10023                                                                    Amount            Amount
Date Filed: 4/23/2019
Claim Face Value: $4,178.69             687     UNS                                 $4,178.69
                                                                                     $4,178.69

Assignee
 Assignee                                                                              Percent    Amount   Status

 Fair Harbor Capital, LLC                                                             100.00%              Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: Randall Industries
 P.O. Box 237037
 New York, NY 10023
                            Case 19-10687-KG             Doc 24       Filed 09/26/19           Page 19 of 62

Fair Harbor Capital, assgn of Frontline Environment Tech Grp
Case(s): 687 Clm No: 84 Clm. Amt: $5,821.13

Attn: Victor Knox                                                                  Proof Of            Final
PO Box 237037                             Case   Class    Status    Objection        Claim    IND   Allowed
New York, NY 10023                                                                 Amount           Amount
Date Filed: 4/23/2019
Claim Face Value: $5,821.13               687    UNS                             $5,821.13
                                                                                  $5,821.13

Assignee
 Assignee                                                                           Percent   Amount   Status

 Fair Harbor Capital, LLC                                                          100.00%             Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: Frontline Enviroment Tech Grp Inc.
 P.O. Box 237037
 New York, NY 10023



Southern States Material Handling, Inc
Case(s): 687 Clm No: 85 Clm. Amt: $6,726.71

Attn: Debra Soto                                                                   Proof Of            Final
115 S 78th St                             Case   Class    Status    Objection        Claim    IND   Allowed
Tampa, FL 33619                                                                    Amount           Amount
Date Filed: 4/23/2019
Claim Face Value: $6,726.71               687    UNS                             $6,726.71
                                                                                  $6,726.71



NEVA CORPORATION
Case(s): 687 Clm No: 86 Clm. Amt: $19,048.69

ATTN:BEN GRAHAM                                                                    Proof Of            Final
11350 Brittmoore Park Dr                  Case   Class    Status   Objection         Claim    IND   Allowed
HOUSTON, TX 77041                                                                  Amount           Amount
Date Filed: 4/23/2019
Claim Face Value: $19,048.69              687    UNS                            $19,048.69
                                                                                 $19,048.69



Continental Intermodal Group LP
Case(s): 687 Clm No: 87 Clm. Amt: $174,994.00

Attn: Beau M. Patterson                                                            Proof Of            Final
420 Throckmorton St.                      Case   Class    Status   Objection         Claim    IND   Allowed
Suite 550                                                                          Amount           Amount
Fort Worth, TX 76102
Date Filed: 4/23/2019                     687    UNS                            $174,994.00
Claim Face Value: $174,994.00                                                   $174,994.00



Dynachem, Inc.
Case(s): 687 Clm No: 88 Clm. Amt: $56,136.48

P.O. Box 19                                                                        Proof Of            Final
Georgetown, IL 61846                      Case   Class    Status   Objection         Claim    IND   Allowed
Date Filed: 4/15/2019                                                              Amount           Amount
Claim Face Value: $56,136.48
                                          687    UNS                            $56,136.48
                                                                                 $56,136.48
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National Container Group
Case(s): 687 Clm No: 89 Clm. Amt: $96,629.54

Attn: Melvin Perrier                                                                   Proof Of             Final
2600 Maitland Center Pkwy             Case      Class       Status     Objection         Claim     IND   Allowed
Suite 200                                                                              Amount            Amount
Maitland, FL 32751
Date Filed: 4/23/2019                 687     503(b)(9)                             $12,072.00
Claim Face Value: $96,629.54          687       UNS                                 $84,557.54
                                                                                     $96,629.54



Asset Optimization Consultants, Inc.
Case(s): 687 Clm No: 90 Clm. Amt: $16,060.00

Attn: Kay Dawn Walker                                                                 Proof Of              Final
16000 Barkers Point Lane              Case     Class      Status      Objection         Claim     IND    Allowed
Suite 105                                                                             Amount             Amount
Houston, TX 77079
Date Filed: 4/24/2019                 687      UNS                                  $16,060.00
Claim Face Value: $16,060.00                                                        $16,060.00



Asset Optimization Consultants, Inc.
Case(s): 687 Clm No: 91 Clm. Amt: $3,795.00

Attn: Kay Dawn Walker                                                                 Proof Of              Final
16000 Barkers Point Lane              Case     Class      Status      Objection         Claim     IND    Allowed
Suite 105                                                                             Amount             Amount
Houston, TX 77079
Date Filed: 4/24/2019                 687      UNS                                  $3,795.00
Claim Face Value: $3,795.00                                                          $3,795.00



Asset Optimization Consultants, Inc.
Case(s): 687 Clm No: 92 Clm. Amt: $7,130.00

Attn: Kay Dawn Walker                                                                  Proof Of             Final
16000 Barkers Point Lane              Case      Class        Status     Objection        Claim    IND    Allowed
Suite 105                                                                              Amount            Amount
Houston, TX 77079
Date Filed: 4/24/2019                 687     503(b)(9)                              $7,130.00
Claim Face Value: $7,130.00                                                           $7,130.00



Neva Corporation
Case(s): 687 Clm No: 93 Clm. Amt: $859.51

Attn: Ben Graham                                                                     Proof Of               Final
11350 Brittmoore Park Dr              Case     Class      Status       Objection       Claim      IND    Allowed
Houston, TX 77041                                                                    Amount              Amount
Date Filed: 4/25/2019
Claim Face Value: $859.51             687      UNS                                   $859.51
                                                                                      $859.51



Society of Petroleum Engineers
Case(s): 687 Clm No: 94 Clm. Amt: $17,380.00

Attn: Ileana Catano Valdes                                                            Proof Of              Final
222 Palisades Creek                   Case     Class      Status      Objection         Claim     IND    Allowed
Richardson,TX 75080                                                                   Amount             Amount
Date Filed: 4/25/2019
Claim Face Value: $17,380.00          687      UNS                                  $17,380.00
                                                                                    $17,380.00
                               Case 19-10687-KG          Doc 24          Filed 09/26/19            Page 21 of 62

Society of Petroleum Engineers
Case(s): 687 Clm No: 95 Clm. Amt: $3,100.00

Attn: Ileana Catano Valdes                                                           Proof Of               Final
222 Palisades Creek                      Case   Class       Status     Objection       Claim      IND    Allowed
Richardson, TX 75080                                                                 Amount              Amount
Date Filed: 4/25/2019
Claim Face Value: $3,100.00              687     UNS                                $3,100.00
                                                                                     $3,100.00



Vega Americas
Case(s): 687 Clm No: 96 Clm. Amt: $1,026.44

Attn: Jacob Groene                                                                   Proof Of               Final
4170 Rosslyn Drive                       Case   Class       Status     Objection       Claim      IND    Allowed
Cincinnati, OH 45209                                                                 Amount              Amount
Date Filed: 4/25/2019
Claim Face Value: $1,026.44              687     UNS                                $1,026.44
                                                                                     $1,026.44



Southern Tank Leasing Inc.
Case(s): 687 Clm No: 97 Clm. Amt: $10,025.00

Attn: Damesia Crocker                                                                 Proof Of              Final
PO Box 1237                              Case     Class       Status    Objection       Claim     IND    Allowed
Demopolis, AL 36732                                                                   Amount             Amount
Date Filed: 4/25/2019
Claim Face Value: $3,500.00              687    503(b)(9)                            $3,500.00

                                         687      PRI                                $3,025.00

                                         687      SEC                                $3,500.00
                                                                                    $10,025.00



Allnex USA Inc.
Case(s): 687 Clm No: 98 Clm. Amt: $165,891.49

Attn: Graham Young                                                                    Proof Of              Final
9005 Westside Parkway                    Case    Class        Status    Objection       Claim      IND   Allowed
Alpharetta, GA 30009                                                                  Amount             Amount
Date Filed: 4/25/2019
Claim Face Value: $165,891.49            687    503(b)(9)                           $66,294.20

                                         687      UNS                               $99,597.29
                                                                                    $165,891.49



Department of the Treasury
Case(s): 687 Clm No: 99 Clm. Amt: $256.38

c/o Internal Revenue Service                                                         Proof Of               Final
P.O. Box 7346                            Case    Class      Status     Objection       Claim      IND    Allowed
Philadelphia, PA 19101-7346                                                          Amount              Amount
Date Filed: 5/24/2019
Orig. Date Filed: 4/25/2019              687      PRI                                $239.88
Amending Clm #: 99                       687     UNS                                  $16.50
Amended By Clm #: 99
                                                                                      $256.38
Claim Face Value: $256.38
                           Case 19-10687-KG                Doc 24         Filed 09/26/19             Page 22 of 62

Brady Trane Service, Inc.
Case(s): 687 Clm No: 100 Clm. Amt: $32,852.20

Attn: Nate England                                                                      Proof Of             Final
1915 N. Church St                           Case   Class    Status      Objection         Claim     IND   Allowed
Greensboro, NC 27405                                                                    Amount            Amount
Date Filed: 4/26/2019
Claim Face Value: $32,852.20                687    UNS                                $32,852.20
                                                                                      $32,852.20



Piedmont Natural Gas
Case(s): 687 Clm No: 101 Clm. Amt: $10,601.49

Attn: Victoria Lynn Jordan                                                              Proof Of             Final
4339 S. Tryon St.                           Case   Class    Status      Objection         Claim     IND   Allowed
Chapter 11                                                                              Amount            Amount
Charlotte, NC 28216
Date Filed: 4/26/2019                       687    UNS                                $10,601.49
Claim Face Value: $10,601.49                                                          $10,601.49



PVF Industrial Supply
Case(s): 687 Clm No: 102 Clm. Amt: $26,894.56

6203 Patterson Rd.                                                                      Proof Of             Final
Little Rock, AR 72209                       Case   Class    Status      Objection         Claim     IND   Allowed
Date Filed: 4/26/2019                                                                   Amount            Amount
Claim Face Value: $26,894.56
                                            687    UNS                                $26,894.56
                                                                                      $26,894.56



Integrated Control Technologies, LLC
Case(s): 687 Clm No: 103 Clm. Amt: $5,448.33

Attn: Melinda Cox                                                                        Proof Of            Final
440 Wrangler Drive                          Case    Class      Status     Objection        Claim    IND   Allowed
Suite 100                                                                                Amount           Amount
Coppell, TX 75019
Date Filed: 4/26/2019                       687    503(b)(9)                           $5,448.33
Claim Face Value: $5,448.33                                                             $5,448.33

Assignee
 Assignee                                                                                Percent    Amount   Status

 Bradford Capital Holdings, LP                                                          100.00%              Final
 c/o Bradford Capital Management, LLC
 Attn: Brian Brager
 Re: Integrated Control Technologies, LLC
 P.O. Box 4353
 Clifton, NJ 07012
                            Case 19-10687-KG          Doc 24          Filed 09/26/19            Page 23 of 62

Fair Harbor Capital, LLC as Assignee of Thinkstep Inc
Case(s): 687 Clm No: 104 Clm. Amt: $12,716.00

Attn: Victor Knox                                                                  Proof Of             Final
PO Box 237037                         Case   Class       Status     Objection        Claim     IND   Allowed
New York, NY 10023                                                                 Amount            Amount
Date Filed: 4/26/2019
Claim Face Value: $12,716.00           687    UNS                                $12,716.00
                                                                                 $12,716.00

Assignee
 Assignee                                                                           Percent    Amount   Status

 Fair Harbor Capital, LLC                                                          100.00%              Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: Thinkstep Inc.
 P.O. Box 237037
 New York, NY 10023



ControlWorx, LLC
Case(s): 687 Clm No: 105 Clm. Amt: $42,764.58

Attn: Missy Fisher                                                                  Proof Of            Final
17630 Perkins Rd                      Case    Class        Status    Objection        Claim    IND   Allowed
Baton Rouge, LA 70810                                                               Amount           Amount
Date Filed: 4/26/2019
Claim Face Value: $42,764.58          687    503(b)(9)                            $1,721.58

                                      687       UNS                              $41,043.00
                                                                                  $42,764.58



CDW
Case(s): 687 Clm No: 106 Clm. Amt: $68,802.94

Attn: Ronelle Erickson                                                             Proof Of             Final
200 N. Milwaukee Ave.                 Case   Class       Status     Objection        Claim     IND   Allowed
Vernon Hills, IL 60061                                                             Amount            Amount
Date Filed: 4/22/2019
Claim Face Value: $68,802.94           687    UNS                                $68,802.94
                                                                                 $68,802.94



H & E Equipment Services, INC
Case(s): 687 Clm No: 107 Clm. Amt: $31,362.75

Attn: Mary C. Cardini                                                              Proof Of             Final
7500 Pecue ln.                        Case   Class       Status     Objection        Claim     IND   Allowed
Baton Rouge, LA 70809                                                              Amount            Amount
Date Filed: 4/23/2019
Claim Face Value: $31,362.75           687    UNS                                $31,362.75
                                                                                 $31,362.75



Sabic Americas, Inc.
Case(s): 687 Clm No: 108 Clm. Amt: $270,353.60

Attn: Franziska Thalmann / Floor 5                                                  Proof Of            Final
2500 CityWest Blvd Ste 100            Case    Class        Status    Objection        Claim    IND   Allowed
Houston, TX, 77042                                                                  Amount           Amount
Date Filed: 4/26/2019
Claim Face Value: $270,353.60         687    503(b)(9)                            $44,028.60

                                      687       UNS                              $226,325.00
                                                                                 $270,353.60
                            Case 19-10687-KG           Doc 24      Filed 09/26/19           Page 24 of 62

Associated Railroad Contractors, Inc.
Case(s): 687 Clm No: 109 Clm. Amt: $16,989.00

Attn: Sheila Collins                                                            Proof Of            Final
P.O. Box 19246                        Case     Class    Status   Objection        Claim    IND   Allowed
Louisville, KY 40259                                                            Amount           Amount
Date Filed: 4/29/2019
Claim Face Value: $16,989.00          687      UNS                            $16,989.00
                                                                              $16,989.00



Wingo Service Co, Inc.
Case(s): 687 Clm No: 110 Clm. Amt: $2,605.27

Edgar Wingo                                                                     Proof Of            Final
11173 Cox Rd.                         Case     Class    Status   Objection        Claim    IND   Allowed
Conroe, TX 77385                                                                Amount           Amount
Date Filed: 4/26/2019
Claim Face Value: $2,605.27           687      UNS                            $2,605.27
                                                                               $2,605.27



Altas Copco Compressors LLV
Case(s): 687 Clm No: 111 Clm. Amt: $5,561.27

Attn: Norine L. Auretta                                                         Proof Of            Final
92 Interstate Dr.                     Case     Class    Status   Objection        Claim    IND   Allowed
West Springfield, MA 01089                                                      Amount           Amount
Date Filed: 4/29/2019
Claim Face Value: $5,561.27           687      UNS                            $5,561.27
                                                                               $5,561.27

Assignee
 Assignee                                                                        Percent   Amount   Status

 Fair Harbor Capital, LLC                                                       100.00%             Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: Altas Copco Compressors LLV
 P.O. Box 237037
 New York, NY 10023



VEGA America's Inc
Case(s): 687 Clm No: 112 Clm. Amt: $9,088.61

Attn: Courtney Pelle                                                            Proof Of            Final
4241 Allendorf Drive                  Case     Class    Status   Objection        Claim    IND   Allowed
Cincinnati, OH 45209                                                            Amount           Amount
Date Filed: 4/30/2019
Claim Face Value: $9,088.61           687      UNS                            $9,088.61
                                                                               $9,088.61



VEGA America's Inc
Case(s): 687 Clm No: 113 Clm. Amt: $794.55

Attn: Courtney Pelle                                                           Proof Of             Final
4241 Allendorf Drive                  Case     Class    Status    Objection      Claim     IND   Allowed
Cincinnati, OH 45209                                                           Amount            Amount
Date Filed: 4/30/2019
Claim Face Value: $794.55             687      UNS                             $794.55
                                                                                $794.55
                               Case 19-10687-KG         Doc 24      Filed 09/26/19          Page 25 of 62

VEGA America's Inc
Case(s): 687 Clm No: 114 Clm. Amt: $1,523.70

Attn: Courtney Pelle                                                            Proof Of            Final
4241 Allendorf Drive                     Case   Class    Status   Objection       Claim    IND   Allowed
Cincinnati, OH 45209                                                            Amount           Amount
Date Filed: 4/30/2019
Claim Face Value: $1,523.70              687    UNS                           $1,523.70
                                                                               $1,523.70



VEGA America's Inc
Case(s): 687 Clm No: 115 Clm. Amt: $2,796.36

Attn: Courtney Pelle                                                            Proof Of            Final
4241 Allendorf Drive                     Case   Class    Status   Objection       Claim    IND   Allowed
Cincinnati, OH 45209                                                            Amount           Amount
Date Filed: 4/30/2019
Claim Face Value: $2,796.36              687    UNS                           $2,796.36
                                                                               $2,796.36



VEGA America's Inc
Case(s): 687 Clm No: 116 Clm. Amt: $12,505.85

Attn: Courtney Pelle                                                            Proof Of            Final
4241 Allendorf Drive                     Case   Class    Status   Objection       Claim    IND   Allowed
Cincinnati, OH 45209                                                            Amount           Amount
Date Filed: 4/30/2019
Claim Face Value: $12,505.85             687    UNS                           $12,505.85
                                                                              $12,505.85



Anguil Environmental Systems, Inc.
Case(s): 687 Clm No: 117 Clm. Amt: $7,689.12

Attn: Tom Cincotta                                                              Proof Of            Final
8855 N. 55th St.                         Case   Class    Status   Objection       Claim    IND   Allowed
Milwaukee, WI 53223                                                             Amount           Amount
Date Filed: 4/30/2019
Claim Face Value: $7,689.12              687    UNS                           $7,689.12
                                                                               $7,689.12



Dorsett & Jackson, Inc.
Case(s): 687 Clm No: 118 Clm. Amt: $7,980.00

Attn: Michelle Pak                                                              Proof Of            Final
3800 Noakes Street                       Case   Class    Status   Objection       Claim    IND   Allowed
Los Angeles, CA 90023                                                           Amount           Amount
Date Filed: 4/30/2019
Claim Face Value: $7,980.00              687    UNS                           $7,980.00
                                                                               $7,980.00

Assignee
 Assignee                                                                        Percent   Amount   Status

 CRG Financial LLC                                                              100.00%             Final
 Attn: Allison R. Axenrod
 Re: Dorsett & Jackson, Inc.
 100 Union Ave.
 Cresskill, NJ 07626
                          Case 19-10687-KG             Doc 24      Filed 09/26/19          Page 26 of 62

Jacobs Engineering
Case(s): 687 Clm No: 119 Clm. Amt: $30,039.31

Attn: Dave Wilson                                                              Proof Of            Final
3149 Winter Lake Road                Case      Class    Status   Objection       Claim    IND   Allowed
P.O. Box 2008 33806                                                            Amount           Amount
Lakeland, FL 33803-2008
Date Filed: 4/30/2019                 687      UNS                           $30,039.31
Claim Face Value: $30,039.31                                                 $30,039.31



Jacobs Engineering
Case(s): 687 Clm No: 120 Clm. Amt: $46,543.34

Attn: Dave Wilson                                                              Proof Of            Final
3149 Winter Lake Road                Case      Class    Status   Objection       Claim    IND   Allowed
P.O. Box 2008 33806                                                            Amount           Amount
Lakeland, FL 33803-2008
Date Filed: 4/30/2019                 687      UNS                           $46,543.34
Claim Face Value: $46,543.34                                                 $46,543.34



Jacobs Engineering
Case(s): 687 Clm No: 121 Clm. Amt: $10,424.48

Attn: Dave Wilson                                                              Proof Of            Final
3149 Winter Lake Road                Case      Class    Status   Objection       Claim    IND   Allowed
P.O. Box 2008 33806                                                            Amount           Amount
Lakeland, FL 33803.-2008
Date Filed: 4/30/2019                 687      UNS                           $10,424.48
Claim Face Value: $10,424.48                                                 $10,424.48



Jacobs Engineering
Case(s): 687 Clm No: 122 Clm. Amt: $2,209.37

Attn: Dave Wilson                                                              Proof Of            Final
3149 Winter Lake Road                Case      Class    Status   Objection       Claim    IND   Allowed
P.O. Box 2008 33806                                                            Amount           Amount
Lakeland, FL 33803-2008
Date Filed: 4/30/2019                 687      UNS                           $2,209.37
Claim Face Value: $2,209.37                                                   $2,209.37



Integrated Control Technologies, LLC
Case(s): 687 Clm No: 123 Clm. Amt: $2,060.00

Attn: Melinda Cox                                                              Proof Of            Final
440 Wrangler Drive                   Case      Class    Status   Objection       Claim    IND   Allowed
Suite 100                                                                      Amount           Amount
Coppell, TX 75019
Date Filed: 4/30/2019                 687      UNS                           $2,060.00
Claim Face Value: $2,060.00                                                   $2,060.00
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Powertemp Services Inc.
Case(s): 687 Clm No: 124 Clm. Amt: $9,958.29

Attn: Frank James Scearce III                                                        Proof Of              Final
1601 S. College Road                  Case     Class     Status      Objection         Claim     IND    Allowed
Wilmington, NC 28403                                                                 Amount             Amount
Date Filed: 5/1/2019
Claim Face Value: $9,958.29           687      UNS                                 $9,958.29
                                                                                    $9,958.29

Assignee
 Assignee                                                                             Percent    Amount   Status

 Fair Harbor Capital, LLC                                                            100.00%               Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: Powertemp Services Inc.
 P.O. Box 237037
 New York, NY 10023



Granite Peak Transloading LLC
Case(s): 687 Clm No: 125 Clm. Amt: $29,227.41

Attn: Joshua Jamison                                                                  Proof Of             Final
PO BOX 51661                          Case     Class       Status     Objection         Claim    IND    Allowed
CASPER, WY 82605                                                                      Amount            Amount
Date Filed: 5/1/2019
Claim Face Value: $29,227.41          687    503(b)(9)                             $25,960.90

                                      687       UNS                                 $3,266.51
                                                                                    $29,227.41



South Chicago Packing, LLC
Case(s): 687 Clm No: 126 Clm. Amt: $146,303.74

Attn: Mark Shaw                                                                      Proof Of              Final
16250 S. Vincennes Ave.               Case   Class      Status      Objection          Claim     IND    Allowed
South Holland IL, 60473                                                              Amount             Amount
Date Filed: 4/30/2019
Claim Face Value: $146,303.74         687      UNS                                $146,303.74
                                                                                  $146,303.74



Tennants Distribution Ltd
Case(s): 687 Clm No: 127 Clm. Amt: $162,426.00

Attn: Steve Parent                                                                    Proof Of             Final
12 Upper Belgrave Street              Case     Class       Status    Objection          Claim     IND   Allowed
London SW1X 8BA                                                                       Amount            Amount
United Kingdom
Date Filed: 5/2/2019                  687    503(b)(9)                            $162,426.00
Claim Face Value: $162,426.00                                                      $162,426.00



ioMosaic Corporation
Case(s): 687 Clm No: 128 Clm. Amt: $33,000.00

Attn: Karen DiBlasi                                                                   Proof Of             Final
93 Stiles Rd                          Case     Class       Status     Objection         Claim    IND    Allowed
Salem, NH 03079                                                                       Amount            Amount
Date Filed: 5/2/2019
Claim Face Value: $33,000.00          687    503(b)(9)                             $28,000.00

                                      687       UNS                                 $5,000.00
                                                                                    $33,000.00
                            Case 19-10687-KG                  Doc 24      Filed 09/26/19          Page 28 of 62

Custom Air Products & Services, Inc
Case(s): 687 Clm No: 129 Clm. Amt: $22,731.81

Attn: Erin Hale                                                                       Proof Of            Final
35 Southbelt Industrial Dr.                    Case   Class    Status   Objection       Claim    IND   Allowed
Houston, TX 77047                                                                     Amount           Amount
Date Filed: 5/2/2019
Claim Face Value: $22,731.81                   687    UNS                           $22,731.81
                                                                                    $22,731.81



Fair Harbor Capital LLC as Assig of Bishop Lifting Products
Case(s): 687 Clm No: 130 Clm. Amt: $1,730.13

Attn: Victor Knox                                                                     Proof Of            Final
PO Box 237037                                  Case   Class    Status   Objection       Claim    IND   Allowed
New York, NY 10023                                                                    Amount           Amount
Date Filed: 5/2/2019
Claim Face Value: $1,730.13                    687    UNS                           $1,730.13
                                                                                     $1,730.13

Assignee
 Assignee                                                                              Percent    Amount    Status

 Fair Harbor Capital LLC                                                              100.00%    1,730.13    Final
 As Assignee of Bishop Lifting Products Inc.
 Attn: Victor Knox
 P.O. Box 237037
 New York, NY 10023



Fair Harbor Capital LLC as assgn of Controls (&) Weighing Systems Inc.
Case(s): 687 Clm No: 131 Clm. Amt: $1,618.00

Attn: Victor Knox                                                                     Proof Of            Final
PO Box 237037                                  Case   Class    Status   Objection       Claim    IND   Allowed
New York, NY 10023                                                                    Amount           Amount
Date Filed: 5/2/2019
Claim Face Value: $1,618.00                    687    UNS                           $1,618.00
                                                                                     $1,618.00

Assignee
 Assignee                                                                              Percent   Amount     Status

 Fair Harbor Capital, LLC                                                             100.00%               Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: Controls (&) Weighing Systems Inc.
 P.O. Box 237037
 New York, NY 10023
                            Case 19-10687-KG           Doc 24            Filed 09/26/19              Page 29 of 62

Fair Harbor Capital LLC as assgn of Southwest Spectro Chem Labs
Case(s): 687 Clm No: 132 Clm. Amt: $2,697.00

Attn: Victor Knox                                                                       Proof Of              Final
PO box 237037                          Case   Class       Status       Objection          Claim     IND    Allowed
New York, NY 10023                                                                      Amount             Amount
Date Filed: 5/2/2019
Claim Face Value: $2,697.00            687     UNS                                    $2,697.00
                                                                                       $2,697.00

Assignee
 Assignee                                                                                Percent    Amount   Status

 Fair Harbor Capital, LLC                                                               100.00%               Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: Southwest Spectro Chem Labs
 P.O. Box 237037
 New York, NY 10023



Fair Harbor Capital as Assign of DXI Industries
Case(s): 687 Clm No: 133 Clm. Amt: $5,275.39

Attn: Victor Knox                                                                       Proof Of              Final
PO Box 237037                          Case       Class      Status      Objection        Claim      IND   Allowed
New York, NY 10023                                                                      Amount             Amount
Date Filed: 5/2/2019
Orig. Date Filed: 5/2/2019             687    503(b)(9)                                $1,269.49
Amending Clm #: 2                      687        UNS                                  $4,005.90
Claim Face Value: $5,275.39
                                                                                        $5,275.39

Assignee
 Assignee                                                                                Percent    Amount   Status

 Fair Harbor Capital, LLC                                                               100.00%               Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: DXI Industries Inc.
 P.O. Box 237037
 New York, NY 10023



Brewster County Tax Office
Case(s): 687 Clm No: 134 Clm. Amt: $61.41

Attn: Laura J. Monroe                                                                  Proof Of               Final
P.O. Box 817                           Case    Class       Status       Objection        Claim      IND    Allowed
Lubbock, TX 79408                                                                      Amount              Amount
Date Filed: 5/2/2019
Claim Face Value: $61.41               687     SEC                                      $61.41
                                                                                         $61.41



Borealis Agrolinz Melamine Deutschland GmbH Borealis Polymers N.V
Case(s): 687 Clm No: 135 Clm. Amt: $312,170.00

Attn: Nancy Goris                                                                       Proof Of              Final
Schalienhoevedreef 20G                 Case   Class       Status      Objection           Claim     IND    Allowed
2800 Mechelen                                                                           Amount             Amount
Belgium
Date Filed: 5/3/2019                   687    UNS                                    $312,170.00
Claim Face Value: $312,170.00                                                        $312,170.00
                            Case 19-10687-KG           Doc 24         Filed 09/26/19              Page 30 of 62

Concur Technologies, Inc.
Case(s): 687 Clm No: 136 Clm. Amt: $43,220.27

Attn: Traci Cowles                                                                   Proof Of             Final
601 108th Avenue NE, Suite 1000       Case     Class    Status      Objection          Claim     IND   Allowed
Bellevue, WA 98004                                                                   Amount            Amount
Date Filed: 5/3/2019
Claim Face Value: $43,220.27          687      UNS                                 $43,220.27
                                                                                   $43,220.27



Network Cabling Services
Case(s): 687 Clm No: 137 Clm. Amt: $4,412.25

Attn: Natica Dickman                                                                 Proof Of             Final
12626 Fuqua St                        Case     Class    Status      Objection          Claim     IND   Allowed
Houston, TX 77034                                                                    Amount            Amount
Date Filed: 5/3/2019
Claim Face Value: $4,412.25           687      UNS                                 $4,412.25
                                                                                    $4,412.25



Motion Industries, Inc.
Case(s): 687 Clm No: 138 Clm. Amt: $123,672.13

P.O. Box 1477                                                                        Proof Of             Final
Birmingham, AL 35201                  Case   Class      Status   Objection             Claim     IND   Allowed
Date Filed: 4/16/2019                                                                Amount            Amount
Claim Face Value: $123,672.13
                                      687      UNS                              $123,672.13
                                                                                   $123,672.13



Industrial Container Services, LLC
Case(s): 687 Clm No: 139 Clm. Amt: $112,126.60

Attn: Melvin Perrier                                                                 Proof Of             Final
2600 Maitland Center Pkwy             Case   Class      Status   Objection             Claim     IND   Allowed
Suite 200                                                                            Amount            Amount
Maitland, FL 32751
Date Filed: 5/6/2019                  687      UNS                              $112,126.60
Claim Face Value: $112,126.60                                                      $112,126.60



Prime Occupational Medicine
Case(s): 687 Clm No: 140 Clm. Amt: $317.00

Attn: Sharon Pan                                                                     Proof Of             Final
15481 Airline Hwy                     Case      Class      Status      Objection       Claim     IND   Allowed
Baton Rouge, LA 70817                                                                Amount            Amount
Date Filed: 5/6/2019
Amended By Clm #: 141                 687      503(b)(9)                             $217.00
Claim Face Value: $317.00             687        UNS                                 $100.00
                                                                                      $317.00
                             Case 19-10687-KG                Doc 24         Filed 09/26/19             Page 31 of 62

Prime Occupational Medicine
Case(s): 687 Clm No: 141 Clm. Amt: $317.00

Attn: Sharon Pan                                                                           Proof Of            Final
15481 Airline Hwy                             Case    Class      Status      Objection       Claim    IND   Allowed
Baton Rouge, LA 70817                                                                      Amount           Amount
Date Filed: 5/6/2019
Orig. Date Filed: 5/6/2019                     687   503(b)(9)                             $217.00
Amending Clm #: 140                            687     UNS                                 $100.00
Claim Face Value: $317.00
                                                                                            $317.00



Newell Electric LLC
Case(s): 687 Clm No: 142 Clm. Amt: $3,148.82

Attn: Rama Rea Newell                                                                      Proof Of            Final
790 30th Ave - H1 & H2                        Case   Class    Status      Objection          Claim    IND   Allowed
Springfield, OR 97478                                                                      Amount           Amount
Date Filed: 5/2/2019
Claim Face Value: $3,148.82                    687   UNS                                 $3,148.82
                                                                                          $3,148.82

Assignee
 Assignee                                                                                   Percent   Amount   Status

 Fair Harbor Capital, LLC                                                                  100.00%             Final
 Ansonia Finance Station Ansonia Finance Station
 P.O. Box 237037
 New York, NY 10023



The Chemical Company
Case(s): 687 Clm No: 143 Clm. Amt: $26,864.40

Attn: Robert N. Roach Jr.                                                                  Proof Of            Final
44 Southwest Avenue                           Case   Class    Status      Objection          Claim    IND   Allowed
Jamestown, RI 02835                                                                        Amount           Amount
Date Filed: 4/8/2019
Claim Face Value: $26,864.40                   687   UNS                                 $26,864.40
                                                                                         $26,864.40



BCC Distribution, Inc.
Case(s): 687 Clm No: 144 Clm. Amt: $9,367.92

Attn: Karen Delgado                                                                        Proof Of            Final
7529 Baron Drive                              Case   Class    Status      Objection          Claim    IND   Allowed
Canton, MI 48187                                                                           Amount           Amount
Date Filed: 4/15/2019
Claim Face Value: $9,367.92                    687   UNS                                 $9,367.92
                                                                                          $9,367.92



Burke Cleaning Service, LLC
Case(s): 687 Clm No: 145 Clm. Amt: $5,372.95

Attn: Mather D. Monroe                                                                     Proof Of            Final
1426 Meadow Lane                              Case   Class    Status      Objection          Claim    IND   Allowed
Morganton, NC 28655                                                                        Amount           Amount
Date Filed: 4/22/2019
Claim Face Value: $5,372.95                    687   UNS                                 $5,372.95
                                                                                          $5,372.95
                            Case 19-10687-KG           Doc 24          Filed 09/26/19              Page 32 of 62

McMaster-Carr Supply Company
Case(s): 687 Clm No: 146 Clm. Amt: $16,847.62

Attn: Todd Auldridge                                                                  Proof Of             Final
1901 Riverside Parkway                Case     Class    Status      Objection           Claim     IND   Allowed
Douglas, GA 30135                                                                     Amount            Amount
Date Filed: 4/23/2019
Claim Face Value: $16,847.62          687      UNS                                 $16,847.62
                                                                                    $16,847.62



Tracerco
Case(s): 687 Clm No: 147 Clm. Amt: $9,732.00

Attn: Mark Wood                                                                       Proof Of             Final
4106 New West Drive                   Case     Class     Status      Objection          Claim     IND   Allowed
Pasadena, TX 77507                                                                    Amount            Amount
Date Filed: 5/2/2019
Claim Face Value: $9,732.00           687      UNS                                  $9,732.00
                                                                                     $9,732.00



Northstar Chemical, Inc
Case(s): 687 Clm No: 148 Clm. Amt: $192,888.02

Attn: Suzanne Bell                                                                    Proof Of             Final
14200 SW Tualatin Sherwood Road       Case   Class      Status      Objection           Claim     IND   Allowed
Sherwood, OR 97140                                                                    Amount            Amount
Date Filed: 5/6/2019
Claim Face Value: $192,888.02         687      UNS                                 $192,888.02
                                                                                   $192,888.02



Domall Designs LLC
Case(s): 687 Clm No: 149 Clm. Amt: $555.00

Attn: Donald L Washburn                                                              Proof Of              Final
8022 Macleay Rd. SE                   Case     Class     Status       Objection        Claim      IND   Allowed
Salem, OR 97317                                                                      Amount             Amount
Date Filed: 5/6/2019
Claim Face Value: $555.00             687      UNS                                   $555.00
                                                                                      $555.00



Banner Technology, Inc. d.b.a. ChemOrganics
Case(s): 687 Clm No: 150 Clm. Amt: $17,685.54

Attn: Sachin Tipnis                                                                   Proof Of             Final
959 Pleasantville Drive               Case     Class    Status      Objection           Claim     IND   Allowed
Houston, TX 77029                                                                     Amount            Amount
Date Filed: 5/7/2019
Claim Face Value: $17,685.54          687      UNS                                 $17,685.54
                                                                                    $17,685.54



Specialty Crate and Pallet, Inc.
Case(s): 687 Clm No: 151 Clm. Amt: $1,256.25

Attn: Michele Walter                                                                  Proof Of             Final
41 N. Danebo Avenue                   Case      Class      Status      Objection        Claim     IND   Allowed
Eugene, OR 97402                                                                      Amount            Amount
Date Filed: 5/7/2019
Claim Face Value: $1,256.25           687    503(b)(9)                               $1,256.25
                                                                                      $1,256.25
                           Case 19-10687-KG                 Doc 24        Filed 09/26/19              Page 33 of 62

American Wood Fibers, Inc.
Case(s): 687 Clm No: 152 Clm. Amt: $1,307.20

Attn: Patricia King                                                                     Proof Of              Final
P.O. Box 468                                 Case   Class    Status    Objection          Claim      IND   Allowed
Schofield, WI 54476                                                                     Amount             Amount
Date Filed: 5/7/2019
Claim Face Value: $1,307.20                  687     UNS                               $1,307.20
                                                                                        $1,307.20



Fraisier, Edward
Case(s): 687 Clm No: 153 Clm. Amt:

Address Redacted                                                                        Proof Of              Final
Date Filed: 5/7/2019                         Case   Class    Status     Objection         Claim      IND   Allowed
Claim Face Value:                                                                       Amount             Amount

                                             687     PRI                               Unknown       Y




Richard and Carolyn Edwards
Case(s): 687 Clm No: 154 Clm. Amt:

Address Redacted                                                                        Proof Of              Final
Date Filed: 5/7/2019                         Case   Class    Status     Objection         Claim      IND   Allowed
Claim Face Value:                                                                       Amount             Amount

                                             687     UNS                               Unknown       Y




Fort Bend County
Case(s): 687 Clm No: 155 Clm. Amt: $30,663.55

c/o Linebarger Goggan Blair & Sampson, LLP                                               Proof Of             Final
Attn: John P. Dillman                        Case   Class    Status    Objection           Claim     IND   Allowed
P O Box 3064                                                                             Amount            Amount
Houston, TX 77253-3064
Date Filed: 5/6/2019                         687    SEC                               $30,663.55
Claim Face Value: $30,663.55                                                           $30,663.55



Fort Bend Co WCID # 02
Case(s): 687 Clm No: 156 Clm. Amt: $3,448.88

c/o Linebarger Goggan Blair & Sampson, LLP                                              Proof Of              Final
Attn: John P. Dillman                        Case   Class    Status    Objection          Claim      IND   Allowed
P O Box 3064                                                                            Amount             Amount
Houston, TX 77253-3064
Date Filed: 5/6/2019                         687     SEC                               $3,448.88
Claim Face Value: $3,448.88                                                             $3,448.88



Harris County, et al
Case(s): 687 Clm No: 157 Clm. Amt: $1,044,798.17

c/o Linebarger Goggan Blair & Sampson, LLP                                                                    Final
Attn: John P. Dillman                                                               Proof Of Claim
                                             Case   Class   Status    Objection                      IND   Allowed
P O Box 3064                                                                               Amount
                                                                                                           Amount
Houston, TX 77253-3064
Date Filed: 5/6/2019                         687    SEC                             $1,044,798.17
Claim Face Value: $1,044,798.17                                                      $1,044,798.17
                              Case 19-10687-KG                 Doc 24           Filed 09/26/19              Page 34 of 62

Angelina County
Case(s): 687 Clm No: 158 Clm. Amt: $375,691.70

c/o Linebarger Goggan Blair & Sampson, LLP                                                     Proof Of              Final
Attn: John P. Dillman                          Case   Class     Status       Objection           Claim     IND    Allowed
P O Box 3064                                                                                   Amount             Amount
Houston, TX 77253-3064
Date Filed: 5/6/2019                           687    SEC                                   $375,691.70
Claim Face Value: $375,691.70                                                               $375,691.70



Airgas USA, LLC
Case(s): 687 Clm No: 159 Clm. Amt: $47.52

Attn: Carrie Dodson                                                                           Proof Of               Final
110 West 7th St. Suite 1400                    Case    Class      Status       Objection        Claim      IND    Allowed
Tulsa, OK 74119                                                                               Amount              Amount
Date Filed: 5/6/2019
Claim Face Value: $47.52                       687     UNS                                     $47.52
                                                                                                $47.52



Arizona Department of Revenue
Case(s): 687 Clm No: 160 Clm. Amt: $662.00

Office of the Arizona Attorney General                                                        Proof Of               Final
c/o Tax, Bankruptcy and Collection Sct         Case   Class       Status       Objection        Claim      IND    Allowed
2005 N Central Ave, Ste 100                                                                   Amount              Amount
Phoenix, AZ 85004
Date Filed: 5/8/2019                           687     PRI                                    $662.00
Claim Face Value: $662.00                                                                      $662.00



Fair Harbor Capital LLC as assgn of Petroleum Services (PSI)
Case(s): 687 Clm No: 161 Clm. Amt: $1,659.00

Attn: Victor Knox                                                                              Proof Of              Final
P.O. Box 237037                                Case    Class        Status      Objection        Claim      IND   Allowed
New York, NY 10023                                                                             Amount             Amount
Date Filed: 5/8/2019
Claim Face Value: $1,659.00                    687    503(b)(9)                               $1,019.00

                                               687      UNS                                     $640.00
                                                                                               $1,659.00

Assignee
 Assignee                                                                                       Percent    Amount   Status

 Fair Harbor Capital, LLC                                                                      100.00%               Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: Petroleum Services Inc. (PSI)
 P.O. Box 237037
 New York, NY 10023



Lubbock Central Appraisal District
Case(s): 687 Clm No: 162 Clm. Amt: $11,030.28

c/o Perdue,Brandon, Fielder, Collins & Mott,                                                   Proof Of              Final
L.L.P.                                         Case   Class     Status       Objection           Claim     IND    Allowed
Attn: Laura J. Monroe                                                                          Amount             Amount
P.O. Box 817
Lubbock, TX 79408                              687    SEC                                   $11,030.28
Date Filed: 5/2/2019                                                                         $11,030.28
Claim Face Value: $11,030.28
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Chletcos/Gallagher, Inc.
Case(s): 687 Clm No: 163 Clm. Amt: $15,696.00

c/o CLD Marcomm LLC                                                                 Proof Of             Final
Attn: Lisa Chletcos                  Case      Class    Status     Objection          Claim     IND   Allowed
121 West 27th st, STE 1102                                                          Amount            Amount
New York, NY 10001
Date Filed: 5/2/2019                  687      UNS                               $15,696.00
Claim Face Value: $15,696.00                                                      $15,696.00



Computer Enterprises, Inc.
Case(s): 687 Clm No: 164 Clm. Amt: $24,084.73

Attn: Patrick Gallagher                                                             Proof Of             Final
1000 Omega Dr, Ste 1150              Case      Class    Status     Objection          Claim     IND   Allowed
Pittsburgh, PA 15205                                                                Amount            Amount
Date Filed: 5/8/2019
Claim Face Value: $24,084.73          687      UNS                               $24,084.73
                                                                                  $24,084.73



Landstar Global Logistics Inc.
Case(s): 687 Clm No: 165 Clm. Amt: $6,363.00

Attn: Dawn Bowers                                                                   Proof Of             Final
13410 Sutton Park Dr. S              Case      Class    Status      Objection         Claim     IND   Allowed
Jacksonville, FL 32224                                                              Amount            Amount
Date Filed: 5/2/2019
Claim Face Value: $6,363.00           687      UNS                                $6,363.00
                                                                                   $6,363.00



Cascade Earth Sciences
Case(s): 687 Clm No: 166 Clm. Amt: $19,328.23

Attn: Dayla D Rabe                                                                   Proof Of            Final
3511 Pacific Blvd SW                 Case       Class     Status     Objection         Claim    IND   Allowed
Albany, OR 97321                                                                     Amount           Amount
Date Filed: 5/8/2019
Claim Face Value: $19,328.23          687   503(b)(9)                              $5,490.18

                                      687       UNS                               $13,838.05
                                                                                   $19,328.23



Logica LLC
Case(s): 687 Clm No: 167 Clm. Amt: $3,675.00

Attn: Stephen McIntosh                                                              Proof Of             Final
P.O. Box 91                          Case      Class    Status      Objection         Claim     IND   Allowed
Columbus, OH 43216                                                                  Amount            Amount
Date Filed: 5/9/2019
Claim Face Value: $3,675.00           687      UNS                                $3,675.00
                                                                                   $3,675.00



SAMS Air Conditioning Maintenance Service. Inc.
Case(s): 687 Clm No: 168 Clm. Amt: $197,046.33

Attn: Alexandra Netherland                                                          Proof Of             Final
6141 Masonic Dr                      Case   Class       Status     Objection          Claim     IND   Allowed
Alexandria, LA 71301                                                                Amount            Amount
Date Filed: 5/9/2019
Claim Face Value: $197,046.33         687      UNS                               $197,046.33
                                                                                 $197,046.33
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Brenntag Great Lakes LLC
Case(s): 687 Clm No: 169 Clm. Amt: $42,264.25

c/o Brenntag North America, Inc.                                                    Proof Of            Final
Attn: BNA Credit                      Case    Class        Status    Objection        Claim    IND   Allowed
5083 Pottsville Pike                                                                Amount           Amount
Reading PA 19605
Date Filed: 5/10/2019                 687    503(b)(9)                           $19,243.20
Claim Face Value: $42,264.25          687       UNS                              $23,021.05
                                                                                  $42,264.25



Brenntag Pacific, Inc.
Case(s): 687 Clm No: 170 Clm. Amt: $50,069.80

c/o Brenntag North America, Inc.                                                    Proof Of            Final
Attn: Deborah R. Seifter              Case    Class        Status    Objection        Claim    IND   Allowed
5083 Pottsville Pike                                                                Amount           Amount
Reading, PA 19605
Date Filed: 5/10/2019                 687    503(b)(9)                           $16,653.22
Claim Face Value: $50,069.80          687       UNS                              $33,416.58
                                                                                  $50,069.80



Brenntag Southwest, Inc.
Case(s): 687 Clm No: 171 Clm. Amt: $33,619.14

c/o Brenntag North America, Inc.                                                    Proof Of            Final
Attn: Deborah R. Seifter              Case    Class        Status    Objection        Claim    IND   Allowed
5083 Pottsville Pike                                                                Amount           Amount
Reading, PA 19605
Date Filed: 5/10/2019                 687    503(b)(9)                            $3,080.22
Claim Face Value: $33,619.14          687       UNS                              $30,538.92
                                                                                  $33,619.14



Brenntag Northeast, LLC
Case(s): 687 Clm No: 172 Clm. Amt: $12,722.40

c/o Brenntag North America, Inc.                                                   Proof Of             Final
Attn: Deborah R. Seifter              Case   Class       Status     Objection        Claim     IND   Allowed
5083 Pottsville Pike                                                               Amount            Amount
Reading, PA 19605
Date Filed: 5/10/2019                 687     UNS                                $12,722.40
Claim Face Value: $12,722.40                                                     $12,722.40



Brenntag Mid-South, Inc.
Case(s): 687 Clm No: 173 Clm. Amt: $37,984.94

Attn: Deborah Seifter                                                               Proof Of            Final
5083 Pottsville Pike                  Case    Class        Status    Objection        Claim    IND   Allowed
Reading, PA 19605                                                                   Amount           Amount
Date Filed: 5/10/2019
Amended By Clm #: 182                 687    503(b)(9)                           $16,919.00
Claim Face Value: $37,984.94          687       UNS                              $21,065.94
                                                                                  $37,984.94
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Coastal Chemical Co., LLC
Case(s): 687 Clm No: 174 Clm. Amt: $36,984.19

c/o Brenntag North America, Inc.                                                     Proof Of             Final
Attn: Deborah R. Seifter              Case     Class     Status      Objection         Claim     IND   Allowed
5083 Pottsville Pike                                                                 Amount            Amount
Reading, PA 19605
Date Filed: 5/10/2019                 687      UNS                                 $36,984.19
Claim Face Value: $36,984.19                                                       $36,984.19



J.A.M. Distributing Company
Case(s): 687 Clm No: 175 Clm. Amt: $21,068.10

c/o Brenntag North America, Inc.                                                      Proof Of            Final
Attn: Deborah R. Seifter              Case      Class      Status     Objection         Claim    IND   Allowed
5083 Pottsville Pike                                                                  Amount           Amount
Reading, PA 19605
Date Filed: 5/10/2019                 687    503(b)(9)                              $9,582.15
Claim Face Value: $21,068.10          687       UNS                                $11,485.95
                                                                                    $21,068.10



Brenntag Specialties, Inc.
Case(s): 687 Clm No: 176 Clm. Amt: $7,720.00

c/o Brenntag North America, Inc.                                                     Proof Of             Final
Attn: Deborah R. Seifter              Case     Class     Status      Objection         Claim     IND   Allowed
5083 Pottsville Pike                                                                 Amount            Amount
Reading, PA 19605
Date Filed: 5/10/2019                 687      UNS                                 $7,720.00
Claim Face Value: $7,720.00                                                         $7,720.00



Brenntag Canada Inc.
Case(s): 687 Clm No: 177 Clm. Amt: $15,455.21

c/o Brenntag North America, Inc.                                                      Proof Of            Final
Attn: Deborah R. Seifter              Case      Class       Status     Objection        Claim    IND   Allowed
5083 Pottsville Pike                                                                  Amount           Amount
Reading, PA 19605
Date Filed: 5/10/2019                 687    503(b)(9)                              $7,782.21
Amended By Clm #: 188                 687       UNS                                 $7,673.00
Claim Face Value: $15,455.21
                                                                                    $15,455.21



BFRW Inc
Case(s): 687 Clm No: 178 Clm. Amt: $1,808.16

DBA Fayetteville Footwear                                                             Proof Of            Final
Attn: Lauren Bowen                    Case      Class       Status     Objection        Claim    IND   Allowed
127 Patternote Cove Lane                                                              Amount           Amount
Mooresville, NC 28117
Date Filed: 5/10/2019                 687    503(b)(9)                                $492.48
Claim Face Value: $1,808.16           687       UNS                                 $1,315.68
                                                                                     $1,808.16
                            Case 19-10687-KG           Doc 24         Filed 09/26/19            Page 38 of 62

Fair Harbor Capital LLC (Recon Management Services Inc.)
Case(s): 687 Clm No: 179 Clm. Amt: $29,387.35

Attn: Victor Knox                                                                  Proof Of              Final
P.O. Box 237037                       Case     Class     Status     Objection        Claim     IND    Allowed
New York, NY 10023                                                                 Amount             Amount
Date Filed: 5/13/2019
Claim Face Value: $29,387.35          687      UNS                               $29,387.35
                                                                                 $29,387.35

Assignee
 Assignee                                                                           Percent    Amount   Status

 Fair Harbor Capital, LLC                                                          100.00%               Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: Recon Management Services Inc.
 P.O. Box 237037
 New York, NY 10023



Sharpe Mixers, Inc.
Case(s): 687 Clm No: 180 Clm. Amt: $19,855.25

Attn: Augusto Britto                                                               Proof Of              Final
1541 S 92nd Place                     Case     Class     Status     Objection        Claim     IND    Allowed
Seattle, WA 98108                                                                  Amount             Amount
Date Filed: 5/15/2019
Claim Face Value: $19,855.25          687      UNS                               $19,855.25
                                                                                 $19,855.25



Sharpe Mixers, Inc
Case(s): 687 Clm No: 181 Clm. Amt: $1,800.00

Attn: Augusto Britto                                                               Proof Of              Final
1541 S 92nd Place                     Case     Class     Status     Objection        Claim     IND    Allowed
Seattle, WA 98108                                                                  Amount             Amount
Date Filed: 5/15/2019
Claim Face Value: $1,800.00           687      UNS                               $1,800.00
                                                                                  $1,800.00



Brenntag Mid-South, Inc.
Case(s): 687 Clm No: 182 Clm. Amt: $95,307.93

Attn: Deborah Seifter                                                               Proof Of             Final
5083 Pottsville Pike                  Case      Class      Status    Objection        Claim     IND   Allowed
Reading, PA 19605                                                                   Amount            Amount
Date Filed: 5/16/2019
Orig. Date Filed: 5/10/2019           687    503(b)(9)                           $31,599.24
Amending Clm #: 173                   687       UNS                              $63,708.69
Claim Face Value: $95,307.93
                                                                                  $95,307.93



Debra Carter
Case(s): 687 Clm No: 183 Clm. Amt: $750.00

5165 Forest Grove Dr.                                                             Proof Of               Final
Trinity, NC 27370                     Case     Class     Status      Objection      Claim      IND    Allowed
Date Filed: 5/16/2019                                                             Amount              Amount
Claim Face Value: $750.00
                                      687      UNS                                $750.00
                                                                                   $750.00
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Debra Carter
Case(s): 687 Clm No: 184 Clm. Amt: $750.00

5165 Forest Grove Dr.                                                            Proof Of               Final
Trinity, NC 27370                     Case     Class     Status     Objection      Claim      IND    Allowed
Date Filed: 5/16/2019                                                            Amount              Amount
Claim Face Value: $750.00
                                      687      UNS                                $750.00
                                                                                   $750.00



Fair Harbor Capital LLC, assign of Alaark Tooling Automation
Case(s): 687 Clm No: 185 Clm. Amt: $1,950.40

Attn: Victor Knox                                                                 Proof Of              Final
PO Box 237037                         Case     Class     Status     Objection       Claim     IND    Allowed
New York, NY 10023                                                                Amount             Amount
Date Filed: 5/16/2019
Claim Face Value: $1,950.40           687      UNS                               $1,950.40
                                                                                 $1,950.40

Assignee
 Assignee                                                                          Percent    Amount   Status

 Fair Harbor Capital, LLC                                                         100.00%               Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: Alaark Tooling Automation Inc.
 P.O. Box 237037
 New York, NY 10023



Apquip Company, Inc.
Case(s): 687 Clm No: 186 Clm. Amt: $7,204.79

Attn: Steve Radowicz                                                              Proof Of              Final
5 Harris Court, Unit Q                Case     Class     Status     Objection       Claim     IND    Allowed
Monterey, CA 93940                                                                Amount             Amount
Date Filed: 5/16/2019
Claim Face Value: $7,204.79           687      UNS                               $7,204.79
                                                                                 $7,204.79



Apquip Company, Inc.
Case(s): 687 Clm No: 187 Clm. Amt: $53.93

Attn: Steve Radowicz                                                             Proof Of               Final
5 Harris Court, Unit Q                Case     Class     Status      Objection     Claim      IND    Allowed
Monterey, CA 93940                                                               Amount              Amount
Date Filed: 5/16/2019
Claim Face Value: $53.93              687      UNS                                 $53.93
                                                                                    $53.93



Brenntag Canada Inc.
Case(s): 687 Clm No: 188 Clm. Amt: $15,355.21

c/o Brenntag North America, Inc.                                                   Proof Of             Final
Attn: Deborah R. Seifter              Case      Class      Status    Objection       Claim     IND   Allowed
5083 Pottsville Pike                                                               Amount            Amount
Reading, PA 19605
Date Filed: 5/16/2019                 687    503(b)(9)                           $7,782.21
Orig. Date Filed: 5/10/2019           687       UNS                              $7,573.00
Amending Clm #: 177
                                                                                 $15,355.21
Claim Face Value: $15,355.21
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Lucite International Inc.
Case(s): 687 Clm No: 189 Clm. Amt: $6,538.00

Attn: Frank Allen Pitt III                                                         Proof Of             Final
7275 Goodlett Farms Pkwy              Case     Class     Status     Objection        Claim     IND   Allowed
Cordova, TN 38016                                                                  Amount            Amount
Date Filed: 5/16/2019
Claim Face Value: $6,538.00            687     UNS                               $6,538.00
                                                                                  $6,538.00



Fair Harbor Capital as assign of Omlid Swinney Inc.
Case(s): 687 Clm No: 190 Clm. Amt: $2,959.50

Attn: Victor Knox                                                                  Proof Of             Final
PO Box 237037                         Case     Class     Status     Objection        Claim     IND   Allowed
New York, NY 10023                                                                 Amount            Amount
Date Filed: 5/16/2019
Claim Face Value: $2,959.50            687     UNS                               $2,959.50
                                                                                  $2,959.50

Assignee
 Assignee                                                                           Percent    Amount   Status

 Fair Harbor Capital, LLC                                                          100.00%              Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: Omlid Swinney Inc.
 P.O. Box 237037
 New York, NY 10023



Fahrenheit IT, Inc
Case(s): 687 Clm No: 191 Clm. Amt: $32,004.50

P.O. Box 540003                                                                     Proof Of            Final
Atlanta, GA 30353-0003                Case      Class      Status    Objection        Claim    IND   Allowed
Date Filed: 5/17/2019                                                               Amount           Amount
Claim Face Value: $32,004.50
                                       687   503(b)(9)                           $32,004.50
                                                                                  $32,004.50

Assignee
 Assignee                                                                           Percent    Amount   Status

 CRG Financial LLC                                                                 100.00%              Final
 Attn: Allison R. Axenrod
 Re: Fahrenheit IT, Inc
 100 Union Ave.
 Cresskill, NJ 07626



Atrilogy Solutions Group, Inc.
Case(s): 687 Clm No: 192 Clm. Amt: $98,204.53

Attn: Doug Lins                                                                    Proof Of             Final
9085 E Mineral Circ, Suite 340        Case     Class     Status     Objection        Claim     IND   Allowed
Centennial, CO 80112                                                               Amount            Amount
Date Filed: 5/17/2019
Claim Face Value: $98,204.53           687     UNS                               $98,204.53
                                                                                 $98,204.53
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Dave Marshall
Case(s): 687 Clm No: 193 Clm. Amt: $1,450.00

4001 Gleneagles Ct                                                                Proof Of             Final
Midland, TX 79707                     Case     Class     Status     Objection       Claim     IND   Allowed
Date Filed: 5/20/2019                                                             Amount            Amount
Claim Face Value: $1,450.00
                                       687     UNS                               $1,450.00
                                                                                 $1,450.00



Columbia Pipe & SUpply Co.
Case(s): 687 Clm No: 194 Clm. Amt: $9,635.46

Attn: James Welser                                                                 Proof Of            Final
1803 Moen Avenue                      Case      Class      Status    Objection       Claim    IND   Allowed
Rockdale, IL 60436                                                                 Amount           Amount
Date Filed: 5/20/2019
Claim Face Value: $9,635.46           687    503(b)(9)                           $3,636.34

                                      687       PRI                              $3,636.34

                                      687       UNS                              $2,362.78
                                                                                  $9,635.46



Fair harbor Capitla, LLC as assg of Scott Construction Equip
Case(s): 687 Clm No: 195 Clm. Amt: $2,293.54

Attn: Victor Knox                                                                 Proof Of             Final
PO Box 237037                         Case     Class     Status     Objection       Claim     IND   Allowed
New York, NY 10023                                                                Amount            Amount
Date Filed: 5/20/2019
Claim Face Value: $2,293.54            687     UNS                               $2,293.54
                                                                                 $2,293.54

Assignee
 Assignee                                                                          Percent    Amount   Status

 Fair Harbor Capital, LLC                                                         100.00%              Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: Scott Construction Equipment
 P.O. Box 237037
 New York, NY 10023



Sigma - Aldrich, Inc
Case(s): 687 Clm No: 196 Clm. Amt: $5,084.37

Attn: Toni Turner                                                                 Proof Of             Final
3050 Spruce Street                    Case     Class     Status     Objection       Claim     IND   Allowed
St.Louis, MO 31103                                                                Amount            Amount
Date Filed: 5/13/2019
Claim Face Value: $5,084.37            687     UNS                               $5,084.37
                                                                                 $5,084.37
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Carrollton-Farmers Branch Independent School District
Case(s): 687 Clm No: 197 Clm. Amt: $624.50

c/o Perdue, Brandon, Fielder, Collins & Mott,                                                Proof Of               Final
L.L.P.                                          Case   Class       Status      Objection       Claim      IND    Allowed
Attn: Eboney Cobb                                                                            Amount              Amount
500 East Border St., Ste. 640
Arlington, TX 76010                             687     SEC                                  $624.50
Date Filed: 5/20/2019                                                                         $624.50
Claim Face Value: $624.50


HOYER Global (USA), Inc.
Case(s): 687 Clm No: 198 Clm. Amt: $13,605.00

Attn: Michael D. Teal                                                                         Proof Of              Final
2211 Space Park Dr                              Case   Class     Status       Objection         Claim     IND    Allowed
Suite 200                                                                                     Amount             Amount
Houston, TX 77058
Date Filed: 5/21/2019                           687    UNS                                  $13,605.00
Claim Face Value: $13,605.00                                                                $13,605.00



Valwood Improvement Authority
Case(s): 687 Clm No: 199 Clm. Amt: $91.17

c/o Perdue Brandon Fielder Et Al                                                             Proof Of               Final
Attn: Eboney Cobb                               Case    Class      Status      Objection       Claim      IND    Allowed
500 East Border St., Ste. 640                                                                Amount              Amount
Arlington, TX 76010
Date Filed: 5/20/2019                           687     SEC                                   $91.17
Claim Face Value: $91.17                                                                       $91.17



Louisiana Department of Revenue
Case(s): 687 Clm No: 200 Clm. Amt: $72,000.00

Attn: Danice Sims                                                                             Proof Of              Final
P.O. Box 66658                                  Case   Class     Status       Objection         Claim     IND    Allowed
Baton Rouge, LA 70896-6658                                                                    Amount             Amount
Date Filed: 5/20/2019
Claim Face Value: $72,000.00                    687     PRI                                 $72,000.00
                                                                                            $72,000.00



Universal Plant Services
Case(s): 687 Clm No: 201 Clm. Amt: $17,386.32

806 Seaco Court                                                                                Proof Of             Final
Deer Park, TX 77536                             Case    Class        Status     Objection        Claim     IND   Allowed
Date Filed: 5/22/2019                                                                          Amount            Amount
Claim Face Value: $5,795.44
                                                687    503(b)(9)                             $5,795.44

                                                687      PRI                                 $5,795.44

                                                687      SEC                                  Unknown      Y

                                                687      UNS                                 $5,795.44
                                                                                             $17,386.32
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Fair Harbor Capital assgn of Maassen Oil Co
Case(s): 687 Clm No: 202 Clm. Amt: $3,773.46

Attn: Victor Knox                                                                      Proof Of            Final
PO Box 237037                                 Case   Class    Status    Objection        Claim    IND   Allowed
New York, NY 10023                                                                     Amount           Amount
Date Filed: 5/23/2019
Claim Face Value: $3,773.46                    687   UNS                             $3,773.46
                                                                                      $3,773.46

Assignee
 Assignee                                                                               Percent   Amount   Status

 Fair Harbor Capital, LLC                                                              100.00%             Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: Maassen Oil Company Inc.
 P.O. Box 237037
 New York, NY 10023



Fair Harbor Capital LLC assgn Independent Enviromental Solutions (aka IES)
Case(s): 687 Clm No: 203 Clm. Amt: $56,920.00

Attn: Victor Knox                                                                      Proof Of            Final
PO Box 237037                                 Case   Class    Status   Objection         Claim    IND   Allowed
New York, NY 10023                                                                     Amount           Amount
Date Filed: 5/23/2019
Claim Face Value: $56,920.00                   687   UNS                            $56,920.00
                                                                                     $56,920.00

Assignee
 Assignee                                                                               Percent   Amount   Status

 Fair Harbor Capital, LLC                                                              100.00%             Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: Independent Enviromental Solutions (aka IES)
 P.O. Box 237037
 New York, NY 10023



Mediterranean Shipping Co. (USA) Inc.
Case(s): 687 Clm No: 204 Clm. Amt: $10,821.66

Attn: Bryan D. Press                                                                   Proof Of            Final
61 Broadway, Suite 905                        Case   Class    Status   Objection         Claim    IND   Allowed
New York, NY 10006                                                                     Amount           Amount
Date Filed: 5/23/2019
Claim Face Value: $10,821.66                   687   UNS                            $10,821.66
                                                                                     $10,821.66



Jerry D. Kurinsky
Case(s): 687 Clm No: 205 Clm. Amt: $500,000.00

Address Redacted                                                                       Proof Of            Final
Date Filed: 5/23/2019                         Case   Class    Status   Objection         Claim    IND   Allowed
Claim Face Value: $500,000.00                                                          Amount           Amount

                                               687   UNS                            $500,000.00
                                                                                    $500,000.00
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Mediterranean Shipping Co. (USA) Inc.
Case(s): 687 Clm No: 206 Clm. Amt: $10,240.46

Attn: Bryan D. Press                                                                Proof Of             Final
61 Broadway, Suite 905                Case    Class        Status    Objection        Claim     IND   Allowed
New York, NY 10006                                                                  Amount            Amount
Date Filed: 5/23/2019
Claim Face Value: $10,240.46          687    503(b)(9)                           $10,240.46
                                                                                  $10,240.46



Henderson Services
Case(s): 687 Clm No: 207 Clm. Amt: $18,590.00

Attn: Julie Dean                                                                    Proof Of             Final
4502 Poplar Level Road                Case    Class        Status    Objection        Claim     IND   Allowed
Louisville, KY 40213                                                                Amount            Amount
Date Filed: 5/28/2019
Claim Face Value: $18,590.00          687    503(b)(9)                           $18,590.00
                                                                                  $18,590.00



Porter Hedges LLP
Case(s): 687 Clm No: 208 Clm. Amt: $54,786.96

Attn: Stephen H. Lee                                                               Proof Of              Final
1000 Main Street, 36th Floor          Case   Class       Status     Objection        Claim     IND    Allowed
Houston, TX 77002                                                                  Amount             Amount
Date Filed: 5/22/2019
Claim Face Value: $54,786.96          687     UNS                                $54,786.96
                                                                                 $54,786.96



Troy Boiler Works Inc.
Case(s): 687 Clm No: 209 Clm. Amt: $715.10

Attn: Richard Okonski                                                             Proof Of               Final
2800-7th. Ave.                        Case    Class      Status      Objection      Claim      IND    Allowed
Troy, NY 12180                                                                    Amount              Amount
Date Filed: 5/29/2019
Claim Face Value: $715.10             687     UNS                                 $715.10
                                                                                   $715.10



Barzano' & Zanardo Roma S.P.A.
Case(s): 687 Clm No: 210 Clm. Amt: $183.43

Attn: Fausto Colella                                                              Proof Of               Final
26 Via Piemonte                       Case    Class      Status      Objection      Claim      IND    Allowed
Rome, IT 00187                                                                    Amount              Amount
Italy
Date Filed: 5/28/2019                 687     UNS                                 $183.43
Claim Face Value: $183.43                                                          $183.43



Callisto Integration, Inc.
Case(s): 687 Clm No: 211 Clm. Amt: $88,024.98

Attn: Jeaneen K Evans                                                              Proof Of              Final
3939 Old Salem Rd, Suite 100          Case   Class       Status     Objection        Claim     IND    Allowed
Albany, OR 97321                                                                   Amount             Amount
Date Filed: 5/31/2019
Claim Face Value: $88,024.98          687     UNS                                $88,024.98
                                                                                 $88,024.98
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Arkansas Department of Finance & Administration
Case(s): 687 Clm No: 212 Clm. Amt: $57.00

Legal Counsel Room 2380                                                            Proof Of               Final
P O Box 1272                         Case      Class    Status       Objection       Claim      IND    Allowed
Little Rock, AR 72203                                                              Amount              Amount
Date Filed: 5/31/2019
Claim Face Value: $57.00              687       PRI                                 $48.00

                                      687       UNS                                   $9.00
                                                                                     $57.00



E. R. Carpenter, L.P.
Case(s): 687 Clm No: 213 Clm. Amt: $10,005.00

Attn: David Lynch Sayre                                                             Proof Of              Final
5016 Monument Ave                    Case      Class    Status      Objection         Claim     IND    Allowed
Richmond, VA 23230                                                                  Amount             Amount
Date Filed: 5/31/2019
Claim Face Value: $10,005.00          687      UNS                                $10,005.00
                                                                                  $10,005.00



Advanced Mechanical Inc.
Case(s): 687 Clm No: 214 Clm. Amt: $1,559.23

Attn: Patricia Schilling                                                             Proof Of             Final
PO Box 397                           Case       Class      Status     Objection        Claim     IND   Allowed
Brownsville, OR 97327                                                                Amount            Amount
Date Filed: 5/31/2019
Claim Face Value: $1,559.23           687   503(b)(9)                              $1,559.23
                                                                                    $1,559.23



Dutch Polymer Solutions International BV DPS International
Case(s): 687 Clm No: 215 Clm. Amt: $42,723.21

Maalsteen 1                                                                         Proof Of              Final
4901 ZZ                              Case      Class    Status      Objection         Claim     IND    Allowed
Oosterhout, Noord Brabant                                                           Amount             Amount
The Netherlands
Date Filed: 6/3/2019                  687      UNS                                $42,723.21
Claim Face Value: $42,723.21                                                      $42,723.21



DPS USA LLC
Case(s): 687 Clm No: 216 Clm. Amt: $11,085.36

Attn: Claudia Hinten                                                                 Proof Of             Final
24549 Detroit Rd.                    Case       Class     Status     Objection         Claim     IND   Allowed
Westlake, OH 44145                                                                   Amount            Amount
Date Filed: 6/3/2019
Claim Face Value: $11,085.36          687   503(b)(9)                             $11,085.36
                                                                                   $11,085.36
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Fair Harbor Cpaitla LLC assign of Alchemix-Nitro Chemical
Case(s): 687 Clm No: 217 Clm. Amt: $15,823.08

Attn: Victor Knox                                                                  Proof Of            Final
P.O. Box 237037                            Case   Class     Status   Objection       Claim    IND   Allowed
New York, NY 10023                                                                 Amount           Amount
Date Filed: 6/3/2019
Claim Face Value: $15,823.08               687     UNS                           $15,823.08
                                                                                 $15,823.08

Assignee
 Assignee                                                                           Percent   Amount   Status

 Fair Harbor Capital, LLC                                                          100.00%             Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: Alchemix-Nitro Chemical
 P.O. Box 237037
 New York, NY 10023



Fair Harbor Capital LLC asssign of Houma / Ward
Case(s): 687 Clm No: 218 Clm. Amt: $1,581.50

Attn: Victor Knox                                                                  Proof Of            Final
P.O. Box 237037                            Case    Class    Status   Objection       Claim    IND   Allowed
New York, NY 10023                                                                 Amount           Amount
Date Filed: 6/3/2019
Claim Face Value: $1,581.50                687     UNS                           $1,581.50
                                                                                  $1,581.50

Assignee
 Assignee                                                                           Percent   Amount   Status

 Fair Harbor Capital, LLC                                                          100.00%             Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: Houma Armature Works Supply LLC (aka Ward Leonard)
 P.O. Box 237037
 New York, NY 10023



Fair Harbor Capital LLC assign of Midwest Salt
Case(s): 687 Clm No: 219 Clm. Amt: $6,286.99

Attn: Victor Knox                                                                  Proof Of            Final
PO Box 237037                              Case    Class    Status   Objection       Claim    IND   Allowed
New York, NY 10023                                                                 Amount           Amount
Date Filed: 6/3/2019
Claim Face Value: $6,286.99                687     UNS                           $6,286.99
                                                                                  $6,286.99

Assignee
 Assignee                                                                           Percent   Amount   Status

 Fair Harbor Capital, LLC                                                          100.00%             Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: Midwest Salt
 P.O. Box 237037
 New York, NY 10023
                            Case 19-10687-KG           Doc 24         Filed 09/26/19            Page 47 of 62

F.W. Webb
Case(s): 687 Clm No: 220 Clm. Amt: $8,348.31

Attn: Douglas Drake                                                                 Proof Of             Final
160 Middlesex Turnpike                Case      Class      Status    Objection        Claim    IND    Allowed
Bedford, MA 01730                                                                   Amount            Amount
Date Filed: 6/3/2019
Claim Face Value: $8,348.31           687    503(b)(9)                              $122.76

                                      687       UNS                               $8,225.55
                                                                                   $8,348.31



Fluid Flow Products Inc.
Case(s): 687 Clm No: 221 Clm. Amt: $5,580.64

Attn: David Bower                                                                  Proof Of              Final
2108 Crown View Dr.                   Case     Class     Status     Objection        Claim     IND    Allowed
Charlotte, NC 28227                                                                Amount             Amount
Date Filed: 6/3/2019
Claim Face Value: $5,580.64           687      UNS                               $5,580.64
                                                                                  $5,580.64

Assignee
 Assignee                                                                           Percent    Amount   Status

 Fair Harbor Capital, LLC                                                          100.00%               Final
 Ansonia Finance Station
 P.O. Box 237037
 New York, NY 10023



Team Technical
Case(s): 687 Clm No: 222 Clm. Amt: $225.57

Attn: David Bower                                                                 Proof Of               Final
2108 Crown View Dr.                   Case     Class     Status     Objection       Claim      IND    Allowed
Charlotte, NC 28227                                                               Amount              Amount
Date Filed: 6/3/2019
Claim Face Value: $225.57             687      UNS                                $225.57
                                                                                   $225.57



Mississippi Department of Revenue
Case(s): 687 Clm No: 223 Clm. Amt: $300.00

Bankruptcy Section                                                                Proof Of               Final
Attn: Nikeshia Agee                   Case     Class     Status     Objection       Claim      IND    Allowed
P.O. Box 22808                                                                    Amount              Amount
Jackson, MS 39225-2808
Date Filed: 6/3/2019                  687       PRI                               $300.00
Claim Face Value: $300.00                                                          $300.00



Two Rivers Terminal, LLC
Case(s): 687 Clm No: 224 Clm. Amt: $382,473.80

Attn: Michael J. Meade                                                              Proof Of             Final
P.O. Box 475                          Case     Class       Status   Objection         Claim     IND   Allowed
Rupert, ID 83350                                                                    Amount            Amount
Date Filed: 6/4/2019
Claim Face Value: $382,473.80         687    503(b)(9)                           $161,087.40

                                      687       UNS                              $221,386.40
                                                                                 $382,473.80
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Kentucky Department of Revenue
Case(s): 687 Clm No: 225 Clm. Amt: $26,915.06

Legal Support Branch                                                              Proof Of             Final
Attn: Leanne C. Warren               Case      Class    Status     Objection        Claim     IND   Allowed
P.O. Box 5222                                                                     Amount            Amount
Frankfort, KY 40602
Date Filed: 6/5/2019                  687      PRI                              $25,891.20
Claim Face Value: $26,915.06          687      UNS                               $1,023.86
                                                                                $26,915.06



Alliance Solutions Group of Oregon, LLC
Case(s): 687 Clm No: 226 Clm. Amt: $8,313.49

Attn: Sarah Cammock                                                               Proof Of             Final
6161 Oak Tree Blvd, Suite 300        Case      Class    Status     Objection        Claim     IND   Allowed
Independence, OH 44131                                                            Amount            Amount
Date Filed: 6/6/2019
Claim Face Value: $8,313.49           687       PRI                             $8,313.49
                                                                                 $8,313.49



Euler Hermes N. A. Insurance Co. Agent of American Casein Company
Case(s): 687 Clm No: 227 Clm. Amt: $81,315.27

800 Red Brook Blvd.                                                               Proof Of             Final
Owings Mills, MD 21117               Case      Class    Status     Objection        Claim     IND   Allowed
Date Filed: 5/31/2019                                                             Amount            Amount
Claim Face Value: $81,315.27
                                      687      UNS                              $81,315.27
                                                                                $81,315.27



Houston Regional Monitoring Corporation
Case(s): 687 Clm No: 228 Clm. Amt: $8,050.00

c/o Amandes PLLC                                                                  Proof Of             Final
Attn: Christopher B. Amandes         Case      Class    Status     Objection        Claim     IND   Allowed
1414 West Clay Street                                                             Amount            Amount
Houston, TX 77019
Date Filed: 6/7/2019                  687      UNS                              $8,050.00
Claim Face Value: $8,050.00                                                      $8,050.00



Domino Foods, Inc., Agent
Case(s): 687 Clm No: 229 Clm. Amt: $25,466.12

c/o ASR Legal Department                                                           Proof Of            Final
1 North Clematis, Suite 200          Case       Class     Status    Objection        Claim    IND   Allowed
West Palm Beach, FL 33401                                                          Amount           Amount
Date Filed: 6/7/2019
Claim Face Value: $25,466.12          687   503(b)(9)                           $25,466.12
                                                                                 $25,466.12



PolSys Services, Inc.
Case(s): 687 Clm No: 230 Clm. Amt: $2,317.50

Attn: Jaime Barajas                                                               Proof Of             Final
2170 Buckthorne Place, 165           Case      Class    Status     Objection        Claim     IND   Allowed
The Woodlands, TX 77380                                                           Amount            Amount
Date Filed: 6/11/2019
Claim Face Value: $2,317.50           687      UNS                              $2,317.50
                                                                                 $2,317.50
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Cintas
Case(s): 687 Clm No: 231 Clm. Amt: $2,625.13

Attn: Guy Girouard                                                             Proof Of            Final
611 E Sam Houston Pkwy S, Suite 100   Case     Class    Status   Objection       Claim    IND   Allowed
Pasadena, TX 77503                                                             Amount           Amount
Date Filed: 6/11/2019
Claim Face Value: $2,625.13           687      UNS                           $2,625.13
                                                                              $2,625.13



SGS North America, Inc
Case(s): 687 Clm No: 232 Clm. Amt: $7,166.65

Accounts Recievable                                                            Proof Of            Final
Attn: Courtney Gatlin                 Case     Class    Status   Objection       Claim    IND   Allowed
P.O. Box 3517                                                                  Amount           Amount
Baton Rouge, LA 70821
Date Filed: 6/11/2019                 687      UNS                           $7,166.65
Claim Face Value: $7,166.65                                                   $7,166.65



North Coast Electric Company
Case(s): 687 Clm No: 233 Clm. Amt: $6,617.93

c/o Hershner Hunter, LLP                                                       Proof Of            Final
Attn: Garrett S. Ledgerwood           Case     Class    Status   Objection       Claim    IND   Allowed
P.O. Box 1475                                                                  Amount           Amount
Eugene, OR 97440
Date Filed: 6/11/2019                 687      UNS                           $6,617.93
Claim Face Value: $6,617.93                                                   $6,617.93



SIRVA Relocation LLC
Case(s): 687 Clm No: 234 Clm. Amt: $17,375.77

Wells Fargo Business Credit                                                    Proof Of            Final
4370 Solutions Center                 Case     Class    Status   Objection       Claim    IND   Allowed
Lockbox #774370                                                                Amount           Amount
SIRVA Relocation
Chicago, IL 60677-4003                687      UNS                           $17,375.77
Date Filed: 6/13/2019                                                        $17,375.77
Claim Face Value: $17,375.77


Stone Pigman Walther Wittmann LLC
Case(s): 687 Clm No: 235 Clm. Amt: $5,912.50

Attn: Andrew D. Mendez                                                         Proof Of            Final
909 Poydras Street, Suite 3150        Case     Class    Status   Objection       Claim    IND   Allowed
New Orleans, LA 70112                                                          Amount           Amount
Date Filed: 6/13/2019
Claim Face Value: $5,912.50           687      UNS                           $5,912.50
                                                                              $5,912.50



FPL Energy Services Inc
Case(s): 687 Clm No: 236 Clm. Amt: $13,569.54

Attn: Janet Khoury                                                             Proof Of            Final
4200 W Flagler St                     Case     Class    Status   Objection       Claim    IND   Allowed
Miami, FL 33134                                                                Amount           Amount
Date Filed: 6/10/2019
Claim Face Value: $13,569.54          687      UNS                           $13,569.54
                                                                             $13,569.54
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Sunbelt Rentals, Inc
Case(s): 687 Clm No: 237 Clm. Amt: $10,463.43

Attn: Maureen Watson                                                                      Proof Of            Final
1275 W Mound St                                  Case   Class    Status   Objection         Claim    IND   Allowed
Columbus, OH 43223                                                                        Amount           Amount
Date Filed: 6/10/2019
Claim Face Value: $10,463.43                     687    UNS                            $10,463.43
                                                                                        $10,463.43



Montana Rail Link, Inc.
Case(s): 687 Clm No: 238 Clm. Amt: $9,300.00

Attn: Mary Ann Buck-Heisserer                                                             Proof Of            Final
101 International Drive                          Case   Class    Status    Objection        Claim    IND   Allowed
P.O. Box 16390                                                                            Amount           Amount
Missoula, MT 59808-6390
Date Filed: 6/14/2019                            687    UNS                             $9,300.00
Claim Face Value: $9,300.00                                                              $9,300.00



Montana Rail Link, Inc.
Case(s): 687 Clm No: 239 Clm. Amt: $12,450.00

Attn: Mary Ann Buck-Heisserer                                                             Proof Of            Final
101 International Drive                          Case   Class    Status   Objection         Claim    IND   Allowed
P.O. Box 16390                                                                            Amount           Amount
Missoula, MT 59808-6390
Date Filed: 6/14/2019                            687    UNS                            $12,450.00
Claim Face Value: $12,450.00                                                            $12,450.00



Norwest Engineering, Inc
Case(s): 687 Clm No: 240 Clm. Amt: $6,953.00

Attn: Danielle Springer                                                                   Proof Of            Final
4110 NE 122nd Ave, Suite 207                     Case   Class    Status    Objection        Claim    IND   Allowed
Portland, OR 97230                                                                        Amount           Amount
Date Filed: 6/17/2019
Claim Face Value: $6,953.00                      687    UNS                             $6,953.00
                                                                                         $6,953.00



Dean Harris
Case(s): 687 Clm No: 241 Clm. Amt: $1,000.00

Florida Self-Insurers Guaranty Association Inc                                            Proof Of            Final
c/o Sorenson Van Leuven, PLLC                    Case   Class    Status    Objection        Claim    IND   Allowed
Attn: James E Sorenson                                                                    Amount           Amount
P.O. Box 3637
Tallahassee, FL 32315-3637                       687    UNS                             $1,000.00
Date Filed: 6/18/2019                                                                    $1,000.00
Claim Face Value: $1,000.00


Edward Speece
Case(s): 687 Clm No: 242 Clm. Amt: $317,235.83

Florida Self-Insurers Guaranty Association Inc                                            Proof Of            Final
Attn: James E Sorenson                           Case   Class    Status   Objection         Claim    IND   Allowed
P.O. Box 3637                                                                             Amount           Amount
Tallahassee, FL 32315-3637
Date Filed: 6/18/2019                            687    UNS                            $317,235.83
Claim Face Value: $317,235.83                                                          $317,235.83
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William Chukes
Case(s): 687 Clm No: 243 Clm. Amt: $100,000.00

Florida Self-Insurers Guaranty Association Inc                                               Proof Of             Final
c/o Sorenson Van Leuven, PLLC                    Case   Class    Status   Objection            Claim     IND   Allowed
Attn: James E Sorenson                                                                       Amount            Amount
P.O. Box 3637
Tallahassee, FL 32315-3637                       687    UNS                              $100,000.00
Date Filed: 6/18/2019                                                                      $100,000.00
Claim Face Value: $100,000.00


Eloy Luis
Case(s): 687 Clm No: 244 Clm. Amt: $5,495.47

Florida Self-Insurers Guaranty Association Inc                                               Proof Of             Final
c/o Sorenson Van Leuven, PLLC                    Case   Class    Status      Objection         Claim     IND   Allowed
Attn: James E Sorenson                                                                       Amount            Amount
P.O. Box 3637
Tallahassee, FL 32315-3637                       687    UNS                                $5,495.47
Date Filed: 6/18/2019                                                                       $5,495.47
Claim Face Value: $5,495.47


Bill Beck
Case(s): 687 Clm No: 245 Clm. Amt: $174,740.80

Florida Self-Insurers Guaranty Association Inc                                               Proof Of             Final
c/o Sorenson Van Leuven, PLLC                    Case   Class    Status   Objection            Claim     IND   Allowed
Attn: James E Sorenson                                                                       Amount            Amount
P.O. Box 3637
Tallahassee, FL 32315-3637                       687    UNS                              $174,740.80
Date Filed: 6/18/2019                                                                      $174,740.80
Claim Face Value: $174,740.80


Maersk Agency U.S.A. Inc.
Case(s): 687 Clm No: 246 Clm. Amt: $1,560.00

Attn: Bryan D. Press                                                                         Proof Of             Final
Metro Group Maritime                             Case   Class    Status      Objection         Claim     IND   Allowed
61 Broadway Suite 905                                                                        Amount            Amount
New York, NY 10006
Date Filed: 6/19/2019                            687    UNS                                $1,560.00
Claim Face Value: $1,560.00                                                                 $1,560.00



Magid Glove & Safety Co
Case(s): 687 Clm No: 247 Clm. Amt: $1,748.64

Attn: Nancy Hopf                                                                             Proof Of             Final
1300 Naperville Dr.                              Case    Class      Status     Objection       Claim     IND   Allowed
Romeoville, IL 60446-1043                                                                    Amount            Amount
Date Filed: 6/19/2019
Claim Face Value: $1,748.64                      687    503(b)(9)                            $752.94

                                                 687      UNS                                $995.70
                                                                                             $1,748.64
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Blue Chip Consulting Group
Case(s): 687 Clm No: 248 Clm. Amt: $28,955.00

Attn: Justine A Lemanowicz                                                                 Proof Of             Final
6000 Lombardo Center, Suite 650             Case   Class       Status      Objection         Claim     IND   Allowed
Seven Hills, OH 44131                                                                      Amount            Amount
Date Filed: 6/20/2019
Claim Face Value: $28,955.00                687     UNS                                  $28,955.00
                                                                                         $28,955.00



Franklin Insulation Group, LLC
Case(s): 687 Clm No: 249 Clm. Amt: $22,821.34

c/o Hall Booth Smith, P.C.                                                                 Proof Of             Final
Attn: Nicholas J. Garcia                    Case   Class       Status      Objection         Claim     IND   Allowed
P.O. Box 2707                                                                              Amount            Amount
Columbus, GA 31902
Date Filed: 6/20/2019                       687     PRI                                    $700.00
Claim Face Value: $22,821.34                687     UNS                                  $22,121.34
                                                                                         $22,821.34



Suburban Propane LP
Case(s): 687 Clm No: 250 Clm. Amt: $1,109.56

Attn: Credit & Collections/ Paul B. Tango                                                   Proof Of            Final
240 Route 10 West                           Case     Class        Status     Objection        Claim    IND   Allowed
Whippany, NJ 07981                                                                          Amount           Amount
Date Filed: 6/21/2019
Claim Face Value: $1,109.56                 687    503(b)(9)                              $1,109.56
                                                                                           $1,109.56



Setpoint Integrated Solutions, Inc.
Case(s): 687 Clm No: 251 Clm. Amt: $26,944.44

Attn: Philip Kirk Arceneaux                                                                 Proof Of            Final
19011 Highland Road                         Case    Class        Status     Objection         Claim    IND   Allowed
Baton Rouge, LA 70809                                                                       Amount           Amount
Date Filed: 6/21/2019
Amended By Clm #: 252                       687    503(b)(9)                             $25,372.93
Claim Face Value: $26,944.44                687      PRI                                  $1,138.55

                                            687      UNS                                    $432.96
                                                                                          $26,944.44



Setpoint Integrated Solutions, Inc.
Case(s): 687 Clm No: 252 Clm. Amt: $26,944.44

Attn: Philip Kirk Arceneaux                                                                 Proof Of            Final
19011 Highland Road                         Case    Class        Status     Objection         Claim    IND   Allowed
Baton Rouge, LA 70809                                                                       Amount           Amount
Date Filed: 6/21/2019
Orig. Date Filed: 6/21/2019                 687    503(b)(9)                             $25,372.93
Amending Clm #: 251                         687      PRI                                  $1,138.55
Claim Face Value: $26,944.44
                                            687      UNS                                    $432.96
                                                                                          $26,944.44
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Franklin Capital Holdings, LLC
Case(s): 687 Clm No: 253 Clm. Amt: $8,072.16

Attn: Thomas H. Bbney                                                              Proof Of            Final
600 Central Avenue, Suite 396         Case     Class    Status     Objection         Claim    IND   Allowed
Highland Park, IL 60035                                                            Amount           Amount
Date Filed: 6/21/2019
Claim Face Value: $8,072.16           687      UNS                               $8,072.16
                                                                                  $8,072.16



Ferrellgas Inc
Case(s): 687 Clm No: 254 Clm. Amt: $767.45

Attn: DeAnna Massey                                                               Proof Of             Final
One Liberty Plaza MD 40               Case     Class     Status     Objection       Claim     IND   Allowed
Liberty, MO 64068                                                                 Amount            Amount
Date Filed: 6/21/2019
Claim Face Value: $767.45              687     UNS                                $767.45
                                                                                   $767.45



Ramboll Environment & Health GmbH
Case(s): 687 Clm No: 255 Clm. Amt: $202,951.12

Attn: Ralf-Michael Swietlik                                                        Proof Of            Final
Friedrich-Ebert-Str. 55               Case   Class      Status    Objection          Claim    IND   Allowed
D-45127 Essen                                                                      Amount           Amount
Germany
Date Filed: 6/24/2019                 687      UNS                              $202,951.12
Claim Face Value: $202,951.12                                                   $202,951.12



Fair Harbor Capital LLC as assign of Saltex LLC
Case(s): 687 Clm No: 256 Clm. Amt: $6,720.00

Attn: Victor Knox                                                                  Proof Of            Final
P.O. Box 237037                       Case     Class    Status     Objection         Claim    IND   Allowed
New York, NY 10023                                                                 Amount           Amount
Date Filed: 6/24/2019
Claim Face Value: $6,720.00           687      UNS                               $6,720.00
                                                                                  $6,720.00

Assignee
 Assignee                                                                           Percent   Amount   Status

 Fair Harbor Capital, LLC                                                          100.00%             Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: Saltex LLC
 P.O. Box 237037
 New York, NY 10023
                            Case 19-10687-KG           Doc 24      Filed 09/26/19           Page 54 of 62

Fair Harbor Capital LLC as assign of Bluewing Royal LLC
Case(s): 687 Clm No: 257 Clm. Amt: $21,430.00

Attn: Victor Knox                                                               Proof Of            Final
P.O. Box 237037                       Case     Class    Status   Objection        Claim    IND   Allowed
New York, NY 10023                                                              Amount           Amount
Date Filed: 6/24/2019
Claim Face Value: $21,430.00          687      UNS                            $21,430.00
                                                                              $21,430.00

Assignee
 Assignee                                                                        Percent   Amount   Status

 Fair Harbor Capital, LLC                                                       100.00%             Final
 Ansonia Finance Station
 Attn: Fredric Glass
 Re: Bluewing Royal LLC
 P.O. Box 237037
 New York, NY 10023



Deca Systems, Inc.
Case(s): 687 Clm No: 258 Clm. Amt: $1,174.48

Attn: Theresa Cockerham                                                         Proof Of            Final
11411-B Darryl Drive                  Case     Class    Status   Objection        Claim    IND   Allowed
Baton Rouge, LA 70815                                                           Amount           Amount
Date Filed: 6/25/2019
Claim Face Value: $1,174.48           687      UNS                            $1,174.48
                                                                               $1,174.48



Joevanny Agostini
Case(s): 687 Clm No: 259 Clm. Amt: $3,540.00

San Miguel Towers Apartments                                                    Proof Of            Final
Apt. 308                              Case     Class    Status   Objection        Claim    IND   Allowed
Mayaguez, PR 00680                                                              Amount           Amount
Date Filed: 6/25/2019
Claim Face Value: $3,540.00           687      SEC                            $3,540.00
                                                                               $3,540.00



M4 Knick LLC
Case(s): 687 Clm No: 260 Clm. Amt: $186.70

Attn: Carissa A Stephens                                                       Proof Of             Final
50 W Technecenter Drive               Case     Class    Status    Objection      Claim     IND   Allowed
Suite B-1                                                                      Amount            Amount
Milford, OH 45150
Date Filed: 6/25/2019                 687      UNS                             $186.70
Claim Face Value: $186.70                                                       $186.70



SafeRack, LLC
Case(s): 687 Clm No: 261 Clm. Amt: $70,472.30

Attn: David Raines                                                              Proof Of            Final
219 Safety Avenue                     Case     Class    Status   Objection        Claim    IND   Allowed
Andrews, SC 29510                                                               Amount           Amount
Date Filed: 6/26/2019
Claim Face Value: $70,472.30          687      UNS                            $70,472.30
                                                                              $70,472.30
                              Case 19-10687-KG                   Doc 24       Filed 09/26/19           Page 55 of 62

Fair Harbor Capital LLC as assign of Wooden Pallets LTD
Case(s): 687 Clm No: 262 Clm. Amt: $133,449.12

Attn: Victor Knox                                                                          Proof Of            Final
P.O. Box 237037                                   Case   Class    Status   Objection         Claim    IND   Allowed
New York, NY 10023                                                                         Amount           Amount
Date Filed: 6/28/2019
Claim Face Value: $133,449.12                     687    UNS                            $133,449.12
                                                                                        $133,449.12



Fair Harbor Capital LLC as assign of CCM ELECTRIC
Case(s): 687 Clm No: 263 Clm. Amt: $26,458.00

Attn: Victor Knox                                                                          Proof Of            Final
P.O. Box 237037                                   Case   Class    Status   Objection         Claim    IND   Allowed
New York, NY 10023                                                                         Amount           Amount
Date Filed: 6/28/2019
Claim Face Value: $26,458.00                      687    UNS                            $26,458.00
                                                                                         $26,458.00



Husch Blackwell LLP
Case(s): 687 Clm No: 264 Clm. Amt: $19,052.18

Attn: Daniel McGarry                                                                       Proof Of            Final
33 E Main St, Ste 300                             Case   Class    Status   Objection         Claim    IND   Allowed
Madison, WI 53701                                                                          Amount           Amount
Date Filed: 7/1/2019
Claim Face Value: $19,052.18                      687    UNS                            $19,052.18
                                                                                         $19,052.18



Metropolitan Water Reclamation District of Greater Chicago
Case(s): 687 Clm No: 265 Clm. Amt: $1,059.94

Attn: Susan T. Morakalis, General Counsel                                                  Proof Of            Final
100 E Erie St, 3rd Fl                             Case   Class    Status    Objection        Claim    IND   Allowed
Chicago, IL 60611                                                                          Amount           Amount
Date Filed: 7/8/2019
Claim Face Value: $1,059.94                       687    UNS                             $1,059.94
                                                                                          $1,059.94



Business Wire, Inc.
Case(s): 687 Clm No: 266 Clm. Amt: $7,741.75

Attn: Angela Arafat                                                                        Proof Of            Final
101 California St, 20th Fl                        Case   Class    Status    Objection        Claim    IND   Allowed
San Francisco, CA 94111                                                                    Amount           Amount
Date Filed: 7/11/2019
Claim Face Value: $7,741.75                       687    UNS                             $7,741.75
                                                                                          $7,741.75



Equipment Depot, Ltd.
Case(s): 687 Clm No: 267 Clm. Amt: $19,091.94

c/o Scheef & Stone, LLP                                                                    Proof Of            Final
Attn: Richard J. Wallace, III. / Brenda Neuwirt   Case   Class    Status   Objection         Claim    IND   Allowed
500 North Akard, Ste 2700                                                                  Amount           Amount
Dallas, TX 75201
Date Filed: 7/16/2019                             687     PRI                            $7,226.93
Claim Face Value: $19,091.94                      687    UNS                            $11,865.01
                                                                                         $19,091.94
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Illiana Transit Warehouse Corp
Case(s): 687 Clm No: 268 Clm. Amt: $3,565.48

Attn: Mandy Trent                                                              Proof Of            Final
700 State Street                     Case      Class    Status   Objection       Claim    IND   Allowed
Calumet City, IL 60409                                                         Amount           Amount
Date Filed: 7/16/2019
Claim Face Value: $3,565.48           687      UNS                           $3,565.48
                                                                              $3,565.48



FedEx Custom Critical
Case(s): 687 Clm No: 269 Clm. Amt: $22,424.39

RMS an Iqor Company                                                            Proof Of            Final
P.O. Box 19253                       Case      Class    Status   Objection       Claim    IND   Allowed
Minneapolis, MN 55419                                                          Amount           Amount
Date Filed: 7/16/2019
Claim Face Value: $22,424.39          687      UNS                           $22,424.39
                                                                             $22,424.39



Rosemount Inc
Case(s): 687 Clm No: 270 Clm. Amt: $78,084.44

Attn: Paul Nygard                                                              Proof Of            Final
8000 Norman Center Dr, Ste 1200      Case      Class    Status   Objection       Claim    IND   Allowed
Bloomington, MN 55437                                                          Amount           Amount
Date Filed: 7/17/2019
Claim Face Value: $78,084.44          687      PRI                           $55,664.07

                                      687      UNS                           $22,420.37
                                                                             $78,084.44



Micro Motion Inc
Case(s): 687 Clm No: 271 Clm. Amt: $45,992.91

Attn: Paul Nygard                                                              Proof Of            Final
8000 Norman Center Dr. Ste 1200      Case      Class    Status   Objection       Claim    IND   Allowed
Bloomington, MN 55437                                                          Amount           Amount
Date Filed: 7/17/2019
Claim Face Value: $45,992.91          687      PRI                           $11,429.44

                                      687      UNS                           $34,563.47
                                                                             $45,992.91



Upward Brand Interactions
Case(s): 687 Clm No: 272 Clm. Amt: $1,325.00

Attn: Eliza Wise                                                               Proof Of            Final
PO Box 1441                          Case      Class    Status   Objection       Claim    IND   Allowed
Springfield, OH 45501                                                          Amount           Amount
Date Filed: 7/19/2019
Claim Face Value: $1,325.00           687      UNS                           $1,325.00
                                                                              $1,325.00
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Upward Brand Interactions
Case(s): 687 Clm No: 273 Clm. Amt: $1,538.00

Attn: Eliza Wise                                                                     Proof Of              Final
PO Box 1441                           Case     Class     Status      Objection         Claim     IND    Allowed
Springfield, OH 45501                                                                Amount             Amount
Date Filed: 7/19/2019
Claim Face Value: $1,538.00           687      UNS                                 $1,538.00
                                                                                    $1,538.00



Upward Brand Interactions
Case(s): 687 Clm No: 274 Clm. Amt: $1,275.00

Attn: Eliza Wise                                                                     Proof Of              Final
P.O. Box 1441                         Case     Class     Status      Objection         Claim     IND    Allowed
Springfield, OH 45501                                                                Amount             Amount
Date Filed: 7/19/2019
Claim Face Value: $1,275.00           687      UNS                                 $1,275.00
                                                                                    $1,275.00



Upward Brand Interactions, LLC
Case(s): 687 Clm No: 275 Clm. Amt: $170.00

Attn: Eliza Wise                                                                    Proof Of               Final
P.O. Box 1441                         Case     Class     Status       Objection       Claim      IND    Allowed
Springfield, OH 45501                                                               Amount              Amount
Date Filed: 7/19/2019
Claim Face Value: $170.00             687      UNS                                  $170.00
                                                                                     $170.00



Procter & Gamble Distributing LLC
Case(s): 687 Clm No: 276 Clm. Amt: $465,771.73

Attn: Jackie Mulligan TN5                                                             Proof Of             Final
2 Procter & Gamble Plaza              Case     Class       Status    Objection          Claim     IND   Allowed
Cincinnati, OH 45202                                                                  Amount            Amount
Date Filed: 7/22/2019
Claim Face Value: $465,771.73         687    503(b)(9)                            $339,837.13

                                      687       UNS                               $125,934.60
                                                                                   $465,771.73



XPO Logistics
Case(s): 687 Clm No: 278 Clm. Amt: $147,491.60

RMS an Iqor Company                                                                  Proof Of              Final
P.O. Box 19253                        Case   Class      Status      Objection          Claim     IND    Allowed
Minneapolis, MN 55419                                                                Amount             Amount
Date Filed: 7/24/2019
Claim Face Value: $147,491.60         687      UNS                                $147,491.60
                                                                                  $147,491.60
                               Case 19-10687-KG         Doc 24        Filed 09/26/19            Page 58 of 62

Wisconsin Department of Revenue
Case(s): 687 Clm No: 279 Clm. Amt: $232,601.00

Attn: Special Procedures Unit                                                       Proof Of            Final
P.O. Box 8901                            Case   Class    Status    Objection          Claim    IND   Allowed
Madison, WI 53708-8901                                                              Amount           Amount
Date Filed: 7/22/2019
Claim Face Value: $232,601.00            687    PRI                              $191,938.98

                                         687    UNS                               $40,662.02
                                                                                 $232,601.00



Corporation Service Company
Case(s): 687 Clm No: 280 Clm. Amt: $766.48

Attn: Joanne Smith                                                                 Proof Of             Final
251 Little Falls Drive                   Case   Class     Status     Objection       Claim     IND   Allowed
Wilmington, DE 19808                                                               Amount            Amount
Date Filed: 7/25/2019
Claim Face Value: $766.48                687     UNS                               $766.48
                                                                                    $766.48



Consolidated Coal Company
Case(s): 687 Clm No: 281 Clm. Amt:

c/o Bernstein-Burkley, P.C.                                                        Proof Of             Final
Attn: Lara Shipkovitz Martin             Case   Class     Status     Objection       Claim     IND   Allowed
707 Grant St, Ste 2200                                                             Amount            Amount
Pittsburgh, PA 15219
Date Filed: 7/25/2019                    687     UNS                                                   $0.00
Claim Face Value:                                                                                       $0.00



Dell Marketing, L.P.
Case(s): 687 Clm No: 282 Clm. Amt: $170,980.47

Attn: Chantell Ewing                                                                Proof Of            Final
One Dell Way, RR1, MS 52                 Case   Class    Status    Objection          Claim    IND   Allowed
Round Rock, TX 78682                                                                Amount           Amount
Date Filed: 7/29/2019
Claim Face Value: $170,980.47            687    PRI                              $130,752.37

                                         687    UNS                               $40,228.10
                                                                                 $170,980.47



West Corp dba West LLC
Case(s): 687 Clm No: 283 Clm. Amt: $8,953.81

Attn: Jeff Woltman                                                                  Proof Of            Final
11808 Miracle Hills Dr                   Case   Class    Status     Objection         Claim    IND   Allowed
Omaha, NE 68154                                                                     Amount           Amount
Date Filed: 7/26/2019
Claim Face Value: $8,953.81              687    UNS                               $8,953.81
                                                                                   $8,953.81
                            Case 19-10687-KG               Doc 24        Filed 09/26/19            Page 59 of 62

Avista Utilities
Case(s): 687 Clm No: 284 Clm. Amt: $8,219.37

Attn: Heather Ann Thompson                                                             Proof Of            Final
P.O. Box 3727, MSC 34                       Case   Class    Status     Objection         Claim    IND   Allowed
Spokane, WA 99220                                                                      Amount           Amount
Date Filed: 8/1/2019
Claim Face Value: $8,219.37                 687    UNS                               $8,219.37
                                                                                      $8,219.37



PMC Biogenix, Inc.
Case(s): 687 Clm No: 285 Clm. Amt: $122,243.04

Attn: James Imbriaco                                                                   Proof Of            Final
1288 Rt 73, Ste 401                         Case   Class    Status    Objection          Claim    IND   Allowed
Mt. Laurel, NJ 08054                                                                   Amount           Amount
Date Filed: 8/1/2019
Claim Face Value: $122,243.04               687    UNS                              $122,243.04           $0.00
                                                                                    $122,243.04            $0.00



PMC Organometallix, Inc.
Case(s): 687 Clm No: 286 Clm. Amt: $522.32

Attn: James Imbriaco                                                                  Proof Of             Final
1288 Rt 73, Ste 401                         Case   Class     Status     Objection       Claim     IND   Allowed
Mt. Laurel, NJ 08054                                                                  Amount            Amount
Date Filed: 8/1/2019
Claim Face Value: $522.32                   687     UNS                               $522.32             $0.00
                                                                                       $522.32             $0.00



Blanchard Industrial, LLC
Case(s): 687 Clm No: 287 Clm. Amt: $44,022.36

c/o Blanchard Industrial, LLC                                                          Proof Of            Final
Attn: Diane B. Plaisance / Bryan Pregeant   Case   Class    Status    Objection          Claim    IND   Allowed
P.O. Box 820                                                                           Amount           Amount
Galliano, LA 70354
Date Filed: 8/5/2019                        687    UNS                              $44,022.36
Claim Face Value: $44,022.36                                                         $44,022.36



Accountemps
Case(s): 687 Clm No: 288 Clm. Amt: $1,886.63

Robert Half / Recovery Dept                                                            Proof Of            Final
P.O. Box 5024                               Case   Class    Status     Objection         Claim    IND   Allowed
San Ramon, CA 94583                                                                    Amount           Amount
Date Filed: 8/3/2019
Claim Face Value: $1,886.63                 687    UNS                               $1,886.63
                                                                                      $1,886.63



Multnomah County - DART
Case(s): 687 Clm No: 289 Clm. Amt: $18,796.89

Attn: Allison Wellman                                                                  Proof Of            Final
P.O. Box 2716                               Case   Class    Status    Objection          Claim    IND   Allowed
Portland, OR 97208                                                                     Amount           Amount
Date Filed: 8/12/2019
Claim Face Value: $18,796.89                687    SEC                              $18,796.89
                                                                                     $18,796.89
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Team Industrial Services, Inc
Case(s): 687 Clm No: 290 Clm. Amt: $6,275.00

Attn: Douglas Weller                                                                Proof Of             Final
13131 Dairy Ashford Rd, Ste 600        Case    Class      Status     Objection        Claim     IND   Allowed
Sugar Land, TX 77478                                                                Amount            Amount
Date Filed: 8/13/2019
Claim Face Value: $6,275.00            687     UNS                                $6,275.00
                                                                                   $6,275.00



COFFIN BUTTE LF C/O VALLEY LANDFILLS - 4125
Case(s): 687 Clm No: 291 Clm. Amt: $6,582.23

ATTN: JANIE MCDOUGLE                                                                Proof Of             Final
1214 SE MONTGOMERY ST                  Case    Class      Status     Objection        Claim     IND   Allowed
ALBANY, OR 97322                                                                    Amount            Amount
Date Filed: 8/14/2019
Claim Face Value: $6,582.23            687     UNS                                $6,582.23
                                                                                   $6,582.23



Michigan Department of Treasury
Case(s): 687 Clm No: 292 Clm. Amt: $1,709.28

Attn: Bankruptcy Unit                                                               Proof Of             Final
P.O. Box 30168                         Case    Class      Status     Objection        Claim     IND   Allowed
Lansing, MI 48909                                                                   Amount            Amount
Date Filed: 8/26/2019
Claim Face Value: $1,709.28            687      PRI                               $1,440.43

                                       687     UNS                                  $268.85
                                                                                   $1,709.28



Cargill Incorporated
Case(s): 687 Clm No: 293 Clm. Amt: $53,680.48

Attn: Edward Humphrey                                                                Proof Of            Final
15407 McGinty Rd W, MS177              Case     Class       Status    Objection        Claim    IND   Allowed
Wayzata, MN 55391                                                                    Amount           Amount
Date Filed: 8/29/2019
Claim Face Value: $53,680.48           687    503(b)(9)                           $16,931.36

                                       687      UNS                               $36,749.12
                                                                                   $53,680.48



State of New Jersey Division of Taxation Bankruptcy Section
Case(s): 687 Clm No: 294 Clm. Amt: $24,000.00

c/o Division of Taxation Bankruptcy                                                 Proof Of             Final
Attn: M. Umar Butt                     Case    Class      Status     Objection        Claim     IND   Allowed
P.O. Box 245                                                                        Amount            Amount
Trenton, NJ 08695
Date Filed: 9/9/2019                   687     PRI                                $24,000.00
Claim Face Value: $24,000.00                                                      $24,000.00
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Clear Creek Independent School District
Case(s): 687 Clm No: 295 Clm. Amt: $75,697.82

c/o Perdue, Brandon, Fielder & Mott LLP                                                Proof Of            Final
Attn: Carl O. Sandin                            Case   Class    Status   Objection       Claim    IND   Allowed
1235 North Loop West, Ste. 600                                                         Amount           Amount
Houston, TX 77008
Date Filed: 9/9/2019                            687    SEC                           $75,697.82
Claim Face Value: $75,697.82                                                         $75,697.82



Chambers County Tax Office
Case(s): 687 Clm No: 296 Clm. Amt: $44,183.05

c/o Perdue, Brandon, Fielder, Collins & Mott,                                          Proof Of            Final
LLP                                             Case   Class    Status   Objection       Claim    IND   Allowed
Attn: Michael J. Darlow                                                                Amount           Amount
1235 North Loop West, Ste. 600
Houston, TX 77008                               687    SEC                           $44,183.05
Date Filed: 9/9/2019                                                                 $44,183.05
Claim Face Value: $44,183.05


La Porte Independent School District
Case(s): 687 Clm No: 297 Clm. Amt: $15,332.07

c/o Perdue, Brandon, Fielder, Collins & Mott,                                          Proof Of            Final
LLP                                             Case   Class    Status   Objection       Claim    IND   Allowed
Attn: Owen M. Sonik                                                                    Amount           Amount
1235 North Loop West, Ste. 600
Houston, TX 77008                               687    SEC                           $15,332.07
Date Filed: 9/9/2019                                                                 $15,332.07
Claim Face Value: $15,332.07


Galena Park Independent School District
Case(s): 687 Clm No: 298 Clm. Amt: $15,843.21

c/o Perdue, Brandon, Fielder & Mott LLP                                                Proof Of            Final
Attn: Owen M. Sonik                             Case   Class    Status   Objection       Claim    IND   Allowed
1235 North Loop West, Ste. 600                                                         Amount           Amount
Houston, TX 77008
Date Filed: 9/9/2019                            687    SEC                           $15,843.21
Claim Face Value: $15,843.21                                                         $15,843.21



Houston Ship Channel Security District
Case(s): 687 Clm No: 299 Clm. Amt: $7,810.00

c/o Perdue, Brandon, Fielder & Mott LLP                                                Proof Of            Final
Attn: Carl O. Sandin                            Case   Class    Status   Objection       Claim    IND   Allowed
1235 North Loop West, Ste. 600                                                         Amount           Amount
Houston, TX 77008
Date Filed: 9/9/2019                            687    SEC                           $7,810.00
Claim Face Value: $7,810.00                                                           $7,810.00



Sage ATC Environmental Consulting LLC
Case(s): 687 Clm No: 300 Clm. Amt: $1,450.61

Attn: Heidi Piotrowicz                                                                 Proof Of            Final
150 Zachary Rd                                  Case   Class    Status   Objection       Claim    IND   Allowed
Manchester, NH 03109                                                                   Amount           Amount
Date Filed: 9/11/2019
Claim Face Value: $1,450.61                     687    UNS                           $1,450.61
                                                                                      $1,450.61
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State of NJ Division of Taxation Bankruptcy Section
Case(s): 687 Clm No: 301 Clm. Amt: $24,000.00

Attn: Mumar Butt                                                                Proof Of            Final
P.O. Box 245                          Case     Class    Status   Objection        Claim    IND   Allowed
Trenton, NJ 08695                                                               Amount           Amount
Date Filed: 9/12/2019
Claim Face Value: $24,000.00          687      PRI                            $24,000.00
                                                                              $24,000.00



Garretson Resolution Group, Inc.
Case(s): 687 Clm No: 302 Clm. Amt: $2,500.00

Attn: Legal Department                                                          Proof Of            Final
501 Kansas Avenue                     Case     Class    Status   Objection        Claim    IND   Allowed
Kansas City, KS 66105                                                           Amount           Amount
Date Filed: 9/23/2019
Claim Face Value: $2,500.00           687      UNS                            $2,500.00
                                                                               $2,500.00



New Hampshire Department of Revenue Administration
Case(s): Clm No: 303 Clm. Amt: $1.00

NH DRA - Legal Bureau                                                          Proof Of             Final
P.O. Box 457                          Case     Class    Status    Objection      Claim     IND   Allowed
Concord, NH 03302                                                              Amount            Amount
Date Filed: 9/26/2019
Claim Face Value: $1.00                687      PRI                               $1.00
                                                                                  $1.00
